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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


  DONNA CURLING, ET AL.,
  Plaintiffs,
                                                Civil Action No. 1:17-CV-2989-AT
  v.

  BRIAN KEMP, ET AL.,
  Defendants.


   COALITION PLAINTIFFS’ NOTICE OF FILING DECLARATIONS


       Plaintiffs Coalition for Good Governance, William Digges III, Laura

Digges, Megan Missett, and Ricardo Davis (the “Coalition Plaintiffs”), in support

of their Motion for Preliminary Injunction [Doc. 258], file the following

declarations:

       Exhibit 1   Philip B. Stark

       Exhibit 2   Susan Cannell

       Exhibit 3   Jasmine Clark

       Exhibit 4   Jeanne Dufort

       Exhibit 5   Virginia Martin
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     Respectfully submitted this 11th day of September, 2018.


/s/ Bruce P. Brown                           /s/ Robert A. McGuire, III
Bruce P. Brown                               Robert A. McGuire, III
Georgia Bar No. 064460                       Admitted Pro Hac Vice
BRUCE P. BROWN LAW LLC                         (ECF No. 125)
Attorney for Coalition for                   Attorney for Coalition
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(404) 881-0700                               113 Cherry St. #86685
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/s/ William Brent Ney                        /s/ Cary Ichter
William Brent Ney                            CARY ICHTER
Georgia Bar No. 542519                       Georgia Bar No. 382515
Attorney for Coalition                       Attorney for Coalition
for Good Governance, William                 for Good Governance, William
Digges III, Laura Digges, Ricardo Davis,     Digges III, Laura Digges, Ricardo
and Megan Missett                            Davis and Megan Missett
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One Midtown Plaza, Suite 1010                3340 Peachtree Road NE
1360 Peachtree Street NE                     Suite 1530
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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                            Civil Action No. 1:17-CV-2989-AT
v.

BRIAN KEMP, ET AL.,
Defendants.


                     CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing document has been prepared in

accordance with the font type and margin requirements of LR 5.1, using font

type of Times New Roman and a point size of 14.

                                   /s/ Bruce P. Brown
                                   Bruce P. Brown
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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

  DONNA CURLING, ET AL.,
  Plaintiffs,
                                               Civil Action No. 1:17-CV-2989-AT
  v.

  BRIAN KEMP, ET AL.,
  Defendants.


                         CERTIFICATE OF SERVICE

       This is to certify that I have this day caused the foregoing COLATION

PLAINTIFFS’ NOTICE OF FILING DECLARATIONS to be served upon all

other parties in this action by via electronic delivery using the PACER-ECF

system.

       This 11TH day of September, 2018.

                                      /s/ Bruce P. Brown
                                      Bruce P. Brown
                                      Georgia Bar No. 064460
                                      BRUCE P. BROWN LAW LLC
                                      Attorney for Coalition for
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              IN THE UNITED STATES DISTRICT COURT FOR
                 THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

                                                    )
 DONNA CURLING, et al.                              )
                                                    )
 Plaintiff,                                         )
                                                    ) CIVIL ACTION FILE NO.:
 vs.                                                ) 1:17-cv-2989-AT
                                                    )
 BRIAN P. KEMP, et al.                              )
                                                    )
 Defendant.                                         )
                                                    )
                                                    )



                      DECLARATION OF PHILIP B. STARK

         PHILIP B. STARK hereby declares as follows:

Qualifications and Background
1. I am Professor of Statistics and Associate Dean of Mathematical and Physical Sciences at the

   University of California, Berkeley, where I am also a faculty member in the Graduate

   Program in Computational Data Science and Engineering; a co-investigator at the Berkeley

   Institute for Data Science; principal investigator of the Consortium for Data Analytics in

   Risk; director of Berkeley Open Source Food; and affiliated faculty of the Simons Institute

   for the Theory of Computing, the Theoretical Astrophysics Center, and the Berkeley Food

   Institute. Previously, I was Chair of the Department of Statistics and Director of the

   Statistical Computing Facility.

2. I have published more than one hundred and ninety articles and books. I have served on the

   editorial boards of archival journals in physical science, Applied Mathematics, Computer
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   Science, and Statistics. I currently serve on four editorial boards. I have lectured at

   universities, professional societies, and government agencies in thirty countries. I was a

   Presidential Young Investigator and a Miller Research Professor. I received the U.C.

   Berkeley Chancellor’s Award for Research in the Public Interest, the Leamer-Rosenthal Prize

   for Open Social Science, and a Velux/Villum Foundation Professorship. I am a member of

   the Institute for Mathematical Statistics and the Bernoulli Society. I am a Fellow of the

   American Statistical Association, the Institute of Physics, and the Royal Astronomical

   Society. I am professionally accredited as a statistician by the American Statistical

   Association and as a physicist by the Institute of Physics.

3. I have consulted for many government agencies, including the U.S. Department of Justice,

   the U.S. Department of Agriculture, the U.S. Department of Commerce, the U.S. Department

   of Housing and Urban Development, the U.S. Department of Veterans Affairs, the Federal

   Trade Commission, the California Secretary of State, the California Attorney General, the

   California Highway Patrol, the Colorado Secretary of State, the Georgia Department of Law,

   and the Illinois State Attorney. I currently serve on the Board of Advisors of the U.S.

   Election Assistance Commission and on the Board of Directors of Verified Voting

   Foundation. (The opinions expressed herein are, however, my own: I am not writing as a

   representative of any entity.)

4. I have testified before the U.S. House of Representatives Subcommittee on the Census; the

   State of California Senate Committee on Elections, Reapportionment and Constitutional

   Amendments; the State of California Assembly Committee on Elections and Redistricting;

   the State of California Senate Committee on Natural Resources; and the State of California

   Little Hoover Commission.
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5. I have been an expert witness or non-testifying expert in a variety of state and federal cases,

    for plaintiffs and for defendants, in criminal matters and a range of civil matters, including,

    inter alia: truth in advertising, antitrust, construction defects, consumer class actions, credit

    risk, disaster relief, elections, employment discrimination, environmental protection, equal

    protection, fairness in lending, federal legislation, First Amendment, import restrictions,

    insurance, intellectual property, jury selection, mortgage-backed securities, natural resources,

    product liability class actions, qui tam, risk assessment, toxic tort class actions, trade secrets,

    utilities, and wage and hour class actions. Much of that work concerned statistical sampling

    and extrapolation.

6. I have been qualified as an expert on statistics in federal courts, including the Central District

    of California, the District of Maryland, the Southern District of New York, and the Eastern

    District of Pennsylvania.

7. I have also been qualified as an expert on statistics in state courts.

8. I have used statistics to address a wide range of questions in many fields.1

9. I served on former California Secretary of State Debra Bowen’s Post-Election Audit

    Standards Working Group in 2007.

10. In 2007, I invented a statistical approach to auditing elections (“risk-limiting audits”) that has

    been incorporated into statutes in California (AB 2023, SB 360, AB 44, AB 2125), Colorado

    (C.R.S. 1-7-515), and Rhode Island (RI Gen L §17-19-37.4 (2017)), and which were recently




1
  For example, I have used statistics to analyze the Big Bang, the interior structure of the Earth and Sun, the risk of
large earthquakes, the reliability of clinical trials, the accuracy of election results, the accuracy of the U.S. Census,
the risk of consumer credit default, the causes of geriatric hearing loss, the effectiveness of water treatment, the
fragility of ecological food webs, risks to protected species, the effectiveness of Internet content filters, high-energy
particle physics data, and the reliability of models of climate, among other things.
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   proposed in federal legislation (the PAVE Act of 2018). RLAs have been tested in California,

   Colorado, Indiana, Ohio, Virginia, and Denmark.

11. RLAs are widely viewed as the best way to check the accuracy of vote tabulation. They have

   been endorsed by the Presidential Commission on Election Administration, the National

   Academy of Sciences report “Securing the Vote: Protecting American Democracy,” the

   American Statistical Association, the League of Women Voters, Verified Voting Foundation,

   Citizens for Election Integrity Minnesota, and other groups concerned with election integrity.

12. I have worked closely with state and local election officials in California and Colorado to

   pilot and deploy RLAs. The software Colorado uses to conduct RLAs is based on software I

   wrote.

13. I worked with Travis County, Texas, on the design of STAR-Vote, an auditable and end-to-

   end cryptographically verifiable voting system.

14. I testified as an expert witness in the general area of election integrity, including the

   reliability of voting equipment, in 2016 presidential candidate Jill Stein’s recount suit in

   Wisconsin, and filed a report in her suit in Michigan.

15. I have testified as an expert in election auditing and the accuracy of election results in two

   election-related lawsuits in California.

16. I have testified to both houses of the California legislature regarding election integrity and

   election audits. I have testified to the California Little Hoover Commission about election

   integrity, voting equipment, and election audits.

17. Since 1988, I have taught statistics at the University of California, Berkeley, one of the top

   two statistics departments in the world (see, e.g., QS World University Rankings, 2014) and

   the nation (US News and World Reports, 2014). I teach statistics regularly at the
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      undergraduate and graduate levels. I have created five new statistics courses at Berkeley. I

      developed and taught U.C. Berkeley’s first online course in any subject, and among the first

      approved for credit throughout the ten campuses of the University of California system. I

      also developed and co-taught online statistics courses to over 52,000 students, using an

      online textbook and other pedagogical materials I wrote and programmed.

18. Appendix 1 is my current curriculum vitae, which includes my publications for the last ten

      years and all cases in the last four years in which I gave deposition or trial testimony.



      Opinions

19. I am offering my opinion with respect to the need and feasibility for Georgia to conduct the

      2018 mid-term election using paper ballots and to verify the outcomes of the election using a

      risk-limiting audit conducted affordably using current voting equipment.

20. The September 6, 2018 National Academy of Sciences, Engineering and Medicine report,

      Securing the Vote: Protecting American Democracy2 (“the NAS report”), echoes the

      opinions of leading voting system scientists and the election integrity community: to ensure

      that reported election results reflect the will of voters, public elections should be conducted

      with hand-marked paper ballots or systems with a voter-verifiable paper trail.

21. The NAS report recommended that “every effort should be made to use human-readable

      paper ballots in the 2018 federal election.” NAS Report, at 7.




2
    https://www.nap.edu/read/25120/chapter/1 Last accessed 9 September 2018.
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22. The Board of Advisors of the U.S. Election Assistance Commission (EAC) passed a

    resolution in 2018 recommending that the EAC “not certify any system that does not use

    voter-verifiable paper as the official record of voter intent.”3

23. Merely using paper ballots to conduct an election does not ensure that results are correct. The

    paper must actually be used in an appropriate way to check the reported results and to correct

    the results if they are wrong. Suitable “post-election audits” that manually inspect random

    samples of paper ballots can detect and correct incorrect electoral outcomes.

24. The NAS report states, “each state should require a comprehensive system of post-election

    audits of processes and outcomes.” NAS Report, at 8. “Audits of election outcomes should

    include manual examination of statistically appropriate samples of paper ballots cast.” NAS

    Report, at 9.

25. Elections should be conducted in a way that gives the public convincing evidence that

    reported election outcomes are correct. This is the principle of “evidence-based elections.”4

26. It is my understanding that since the security breach of the Kennesaw State University Center

    for Election Systems server, there has been no forensic examination or remediation of voting

    system components, including many thousands of pieces of computerized election equipment

    indirectly connected to that server. As a result, in Georgia, the accuracy and trustworthiness

    of election results are in particular peril compared to most states: the need for paper ballots

    and rigorous post-election audits is urgent. The paperless systems currently deployed in

    Georgia simply cannot provide trustworthy evidence that reported election outcomes are

    correct.


3
  https://www.eac.gov/documents/2018/04/27/resolution-2018-03-auditability-of-voter-intent-passed-10-8-4-
advisors-resolution-page/ Last accessed 9 September 2018.
4
  Stark, P.B., and D.A. Wagner, 2012. Evidence-Based Elections. IEEE Security and Privacy, 10, 33–41. Preprint:
https://www.stat.berkeley.edu/~stark/Preprints/evidenceVote12.pdf
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27. A “risk-limiting audit” (RLA)5 is a particular approach to catching and correcting incorrect

     election outcomes before they become official. A RLA is any post-election procedure that

     offers the following statistical guarantee: If a full manual tally of the complete voter-

     verifiable paper trail would show a different electoral outcome, there is a known, pre-

     determined minimum chance that the procedure will lead to a full manual tally.

28. If the procedure does lead to a full manual tally, the result of that manual tally replaces the

     reported outcome, thereby correcting it.

29. Here, “outcome” means the political result: the candidate(s) or position that won, or the

     determination that a run-off is needed, not the exact vote totals.

30. The maximum chance that the procedure will not lead to a full manual tally if that tally

     would show a different outcome is called the risk limit. Equivalently, the risk limit is the

     largest chance that the audit will fail to correct an outcome that is incorrect, where

     “incorrect” means that a full manual tally of the voter-verifiable paper trail would find

     different winner(s).

31. For instance, a RLA with a risk limit of 5% has at least a 95% chance of requiring a full

     manual tally, if that tally would show an outcome that differs from the reported outcome.

32. The NAS Report recommends RLAs: “States should mandate risk-limiting audits prior to the

     certification of election results.” NAS Report, at 9. “Risk-limiting audits can efficiently

     establish high confidence in the correctness of election outcomes—even if the equipment


5
  Risk-limiting audits have been endorsed by the Presidential Commission on Election Administration, the American Statistical Association, the
League of Women Voters, Common Cause, Verified Voting Foundation, and many other organizations concerned with election integrity. They
are required by law in Colorado and Rhode Island, and have been tested in California, Ohio, and Denmark. They were developed in 2007;
the first publication is Stark, P.B., 2008. Conservative Statistical Post-Election Audits, Ann. Appl. Statistics, 2, 550–581. Reprint. Since then,
there have been extensions for other social choice functions (e.g., proportional representation, see Stark, P.B., and
V. Teague, 2014. Verifiable European Elections: Risk-limiting Audits for D’Hondt and Its Relatives, JETS: USENIX Journal of Election
Technology and Systems, 3, 18–39. https://www.usenix.org/system/files/jets/issues/0301/overview/jets_0301_stark_update_9-
10-15.pdf), for auditing any number of contests simultaneously, for different types of voting equipment, etc. For a general but still somewhat
technical introduction, see Stark, P.B., and M. Lindeman, A Gentle Introduction to Risk-Limiting Audits, IEEE Security and Privacy, 10,
42–49, doi:10.1109/MSP.2012.56
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    used to cast, collect, and tabulate ballots to produce the initial reported outcome is faulty.”

    NAS Report, at 100.

33. The US Election Assistance Commission (EAC) recently issued a white paper on the history,

    importance, and conduct of RLAs.6

34. It is crucial to base post-election audits on voter-verifiable paper records; to ensure that those

    records include every validly cast vote exactly once, and no others (checking the

    determination of eligibility, in particular); to ensure that those records remain complete and

    intact from the moment they are cast through the audit; and to assess the evidence that they

    are trustworthy. Absent affirmative evidence that the paper trail is a trustworthy record of

    voter intent—that it accurately reflects the intent of every voter who legitimately cast a ballot

    in the contests under audit, and no others—the audit might simply confirm the incorrect

    outcome. The process of assessing the trustworthiness of the paper trail is called a

    compliance audit.

35. There are many methods for conducting risk-limiting audits, involving different ways of

    drawing samples of ballots and different demands on the voting system and on auditors. For

    instance, a full handcount is a risk-limiting audit, with a risk limit of zero. But by inspecting

    randomly selected ballots and using appropriate statistical methods, it is possible to conduct

    risk-limiting audits much more efficiently—when the electoral outcome is correct. Below, I

    discuss ballot-polling RLAs, a particular approach that Georgia could implement in time for

    the 2018 mid-term elections.

36. RLAs require manually inspecting voter-verifiable paper ballots. In particular, digital images

    of ballots are not a trustworthy record of voter intent.


6
 https://www.eac.gov/assets/1/6/Risk-Limiting_Audits_-_Practical_Application_Jerome_Lovato.pdf Last accessed
9 September 2018.
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37. Ballot-polling is a particularly simple method for conducting RLAs. It involves selecting and

    manually inspecting randomly selected cast ballots. If a sufficiently large random sample of

    ballots shows a sufficiently large margin for the reported winner, that is strong statistical

    evidence that the reported winner really won.

38. A ballot-polling RLA is similar to an exit poll, but instead of asking a random sample of

    voters what their preferences were, the audit looks at a random sample individual ballots to

    see what preferences those ballots show.

39. In contrast to exit polls, the sample size for a ballot-polling RLA is not fixed in advance. A

    ballot-polling RLA stops if and when the sample shows that it is implausible that anyone

    other than the reported winner really won. The calculations to determine whether and when

    the audit can stop are simple enough to be done with a pencil and paper. They involve

    nothing more complicated than multiplication.

40. The first ballot-polling RLA was conducted in Monterey County, California, in 2011.7 Since

    then, they have been used in pilot RLAs in California, Colorado, and Virginia. The first

    academic papers on ballot-polling RLAs were published in 2012.8

41. A free, open-source tool that implements all the calculations for ballot-polling RLAs,

    including the random selection of ballots and the calculation of when the audit can stop, is

    available at the URL https://www.stat.berkeley.edu/~stark/Vote/ballotPollTools.htm (last

    accessed 9 September 2018). That tool is the basis of the software Colorado uses for RLAs in

    some counties. It has been used in pilot audits in several California and Colorado counties.


7
 See http://www.montereycountyelections.us/AB2023.html, last accessed 9 September 2018.
8
  Lindeman, M., P.B. Stark, and V.S. Yates, 2012. BRAVO: Ballot-polling Risk-Limiting Audits to Verify
Outcomes. 2012 Electronic Voting Technology Workshop/Workshop on Trustworthy Elections (EVT/WOTE ’12).
Reprint: https://www.usenix.org/system/files/conference/evtwote12/evtwote12-final27.pdf. Lindeman, M. and P.B.
Stark, 2012. A Gentle Introduction to Risk-Limiting Audits. IEEE Security and Privacy, 10, 42–49. Preprint:
https://www.stat.berkeley.edu/~stark/Preprints/gentle12.pdf.
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42. Georgia could use ballot-polling RLAs to confirm electoral outcomes if it conducted

     elections using paper ballots counted by Accu-Vote optical scanners.

43. There are other approaches to RLAs that generally involve inspecting fewer ballots, but that

     require more data from voting systems and have higher set-up costs than ballot-polling

     RLAs. For instance, ballot-level comparison RLAs are currently the most efficient approach,

     as measured by the number of ballots that must be audited when the electoral outcome is

     correct. Georgia should explore other approaches to RLAs in the future, but the easiest RLA

     method to implement by the mid-term elections is ballot polling.

44. I understand that audit guidelines might need to be established by the Georgia State Election

     Board in a public process. Because there is now considerable experience conducting RLAs, a

     great deal of public information, free software, and model legislation, the work could be done

     in time to audit the 2018 mid-term elections. The fact that Georgia uses a uniform voting

     system employing the Accu-Vote optical scanner will simplify the process. However, there is

     no time to waste: work should start immediately.

45. The audit guidelines should embody a number of principles, including requiring serious

     checks of the integrity of the paper trail, specifying risk limits, specifying how contests

     subject to RLAs are to be selected, ensuring that the audit cannot be subverted, and providing

     the public enough information to verify that the audit did not stop prematurely. The

     guidelines also need to specify how to interpret voter intent from hand-marked ballots.9




9
  For instance, if a voter makes a write-in vote for a candidate who is also listed on the ballot, is that a valid vote? If a voter
marks a vote for a listed candidate and also writes in that candidate’s name, is that a valid vote? If a voter marks a vote for a
candidate, crosses through the mark, and marks a vote for a second candidate, is that a valid vote for the second candidate? If a voter makes a
stray mark on the ballot that is distinctive enough to identify the ballot, is the ballot valid? Experience in recounts in Minnesota suggests that the
percentage of hand-marked ballots that are marked ambiguously is quite small: in the 2008 Minnesota statewide recount, only 845 ballots were
challenged. http://minnesota.publicradio.org/collections/special/2008/campaign/results/mn/recount/ballots/ Last visited 9 September 2018. See
http://minnesota.publicradio.org/features/2008/11/19_challenged_ballots/ (last visited 9 September 2018) for specific examples.
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46. The largest hurdle is to establish procedures that ensure that the paper ballots are physically

    secured and organized well enough to draw a random sample.

47. In particular, a key ingredient of ballot-polling RLAs is a ballot manifest that describes, for

    each jurisdiction, how many ballots were cast in that jurisdiction and how the ballots are

    organized.

48. For instance, a ballot manifest might say, “the county has 913 boxes of ballots, numbered 1

    through 913. Box 1 contains 301 ballots. Box 2 contains 199 ballots. . . . and Box 913

    contains 247 ballots.”

49. Ballot manifests should be constructed without reliance on the system that is used to tabulate

    the votes, because they are used to check the tabulation system.

50. It is reasonable to require local election officials to construct ballot manifests routinely: if an

    election official cannot keep track of ballots, the official is not doing his or her job.

51. All contests should receive some scrutiny. However, it may be impractical to audit every

    contest to a pre-specified risk limit. If the guidelines do not require every contest to be

    audited to a pre-specified risk limit, the selection of contests to audit to a risk limit should

    involve a random element so that every contest has some chance of being selected and a

    malicious opponent cannot predict whether any particular contest will be audited.

52. For every ballot selected for audit, votes on that ballot in contests that are not required to be

    audited to a risk limit should nonetheless be recorded (and reported) to provide evidence

    about whether the results of those contests are accurate. Collecting such data

    opportunistically from ballots that are manually inspected enables “risk-measuring audits,”

    which report the strength of evidence that the outcomes of those contests are correct, in light

    of what the audit finds.
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53. The audit sample must not be predictable before the audit starts. Public trust in audits may be

   increased if the public participates in generating “seed” for selecting the sample. In Colorado,

   for instance, the “seed” is generated in a broadcast, public ceremony in which 10-sided dice

   are rolled 20 times, with public participation.

54. Auditing cross-jurisdictional contests requires contest-level results (not merely county-level

   results) to be known before the audit can conclude. It also requires coordinating the sampling

   in different counties, so that each county knows when its portion of the audit can stop.

55. I recommend that starting with the 2018 mid-term election, Georgia conduct ballot-polling

   RLAs of all countywide, statewide, and federal contests, using a risk limit no larger than 5

   percent. I recommend that other contests be audited “opportunistically” as described in

   paragraph 52, supra. I believe this is feasible and affordable, but there is no time to waste:

   the process for establishing the guidelines and procedures must start immediately.

56. A number of non-partisan, non-profit organizations are ready and able to assist Georgia in

   implementing post-election audits, including Verified Voting Foundation. The U.S. Election

   Assistance Commission also has staff with extensive experience with RLAs.

57. Although ballot-polling RLAs are not particularly costly, I understand that federal HAVA

   funds recently granted to Georgia could be used to implement post-election audits,

   presumably including the cost of monitoring the audits and reporting the results to this Court.



I declare under penalty of perjury, in accordance with 28 U.S.C. § 1746, that the foregoing is true

and correct.



       Executed on this date, 9 September 2018.
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                             _______________________________

                                  Philip B. Stark
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Curriculum Vitae
Philip Bradford Stark

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   Appointments . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1
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P.B. Stark: CV                      September 4, 2018                      1


Biographical Information
     Born: 7 October 1960, Houston, Texas.

     Citizenship: U.S.A.


 Interests
     Theory: Inference, inverse problems, multiplicity, nonparametrics, op-
     timization, restricted parameters, sampling

     Applications: Astrophysics, cosmology, ecology, elections, geophysics,
     health, legislation, litigation, marketing, physics, public policy, risk
     assessment and control, uncertainty quantification


 Appointments
     10/2015–present Associate Dean, Division of Mathematical and
     Physical Sciences, University of California, Berkeley

     6/2016–8/2016 Visiting Professor of Theoretical Computer Science,
     IT University of Copenhagen

     7/2012–6/2015 Chair, Department of Statistics, and Director, Sta-
     tistical Computing Facility, University of California, Berkeley

     7/2011–6/2012 Vice Chair, Department of Statistics, University of
     California, Berkeley

     7/2011–8/2011 Acting Chair, Department of Statistics, University of
     California, Berkeley

     7/2008–present Faculty, Designated Emphasis in Computational and
     Data Science and Engineering, University of California, Berkeley

     7/1998–present Professor, Department of Statistics, University of
     California, Berkeley




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P.B. Stark: CV                     September 4, 2018                      2


     7/2001–6/2003 Faculty Assistant in Educational Technology (to Vice
     Provost for Undergraduate Education), University of California, Berke-
     ley

     6/1996 Visiting Associate Professor, School of Mathematical Sciences,
     Tel Aviv University, Tel Aviv, Israel

     7/1994–6/1998 Associate Professor, Department of Statistics, Uni-
     versity of California, Berkeley

     7/1988–6/1994 Assistant Professor, Department of Statistics, Uni-
     versity of California, Berkeley

     7/1987–6/1990 National Science Foundation Postdoctoral Fellow in
     Mathematical Sciences

     1/1987–6/1987 Postgraduate Research, Department of Statistics,
     University of California, Berkeley

     8/1986–12/1986 Postgraduate Research, Institute for Geophysics
     and Planetary Physics, UC San Diego


 Awards and Fellowships
     Velux/Villum Foundation Visiting Professor Programme (2015–2016)

     Leamer-Rosenthal Prize for Transparency in Social Science (2015)

     Chancellor’s Award for Public Service, Research in the Public Interest,
     University of California, Berkeley (2011)

     John Gideon Award for Election Integrity, Election Verification Net-
     work (2011)

     Mellon Library/Faculty Fellow for Undergraduate Research (2006–
     2007)

     Presidential Chair Fellow, University of California, Berkeley (2003–
     2004)

     Fellow, American Statistical Association (selected 2014)




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P.B. Stark: CV                      September 4, 2018                       3


     Fellow, Institute of Physics (elected 1999)

     Miller Research Professor, Miller Institute for Basic Research in Science
     (1999)

     Dobson Fellow, University of California at Berkeley (1998, 1999)

     Presidential Young Investigator (1989–1995)

     National Science Foundation Postdoctoral Fellowship in Mathematical
     Sciences (1987–1989)

     University Fellowship, University of Texas at Austin (1982–1983)


 Affiliations
     Association of Foragers

     Berkeley Institute for Data Science (BIDS), University of California,
     Berkeley

     Berkeley Food Institute, University of California, Berkeley

     Berkeley Open Source Food, University of California, Berkeley

     Center for Astrostatistics, Pennsylvania State University

     Global Oscillation Network Group (GONG)

     National Partnership for Advanced Computational Infrastructure
     (NPACI)

     Simons Institute for the Theory of Computing, University of California,
     Berkeley

     Solar and Heliospheric Observatory Solar Oscillations Investigation
     (SOHO-SOI)

     Space Sciences Laboratory, University of California, Berkeley

     Theoretical Astrophysics Center, University of California, Berkeley




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P.B. Stark: CV                       September 4, 2018                       4


 Professional Societies
     American Statistical Association: Fellow and Accredited Professional
     Statistician

     Bernoulli Society for Mathematical Statistics and Probability

     Institute of Mathematical Statistics

     Institute of Physics: Fellow and Chartered Physicist

     International Statistical Institute

     Royal Astronomical Society: Fellow


 Education
     A.B. 1980, Princeton University, Princeton, New Jersey

     Ph.D. 1986, University of California, San Diego, La Jolla, California


Mentors
     Robert L. Parker, Institute for Geophysics and Planetary Physics,
     Scripps Institution of Oceanography, University of California, San
     Diego (PhD dissertation advisor)

     George E. Backus, Institute for Geophysics and Planetary Physics,
     Scripps Institution of Oceanography, University of California, San
     Diego (postdoctoral advisor)

     David L. Donoho, Department of Statistics, Stanford University (post-
     doctoral advisor)




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P.B. Stark: CV                     September 4, 2018                     5


 Publications
Refereed Publications
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     Earthquakes, Journal of Geophysical Research, 90, 1859–1869.

  2. Stark, P.B., R.L. Parker, G. Masters, and J.A. Orcutt, 1986. Strict
     bounds on seismic velocity in the spherical Earth, Journal of Geophys-
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  3. Stark, P.B., 1986. Travel-Time Inversion: Regularization and Infer-
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     California, San Diego, 106pp.

  4. Stark, P.B., and R.L. Parker, 1987. Smooth profiles from tau(p) and
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     estimates of tau(p) and X(p), Journal of Geophysical Research, 92,
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  7. Orcutt, J.A., R.L. Parker, P.B. Stark, and J.D. Garmany, 1988. Com-
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P.B. Stark: CV                     September 4, 2018                      10


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P.B. Stark: CV                     September 4, 2018                     11


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P.B. Stark: CV                     September 4, 2018                      12


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224. How Statistics can improve election integrity, PoliSci 191, The Right to
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213. Causal Inference from Data, Emerging Science for Environmental
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     Collins, CO, 3 October 2016. Slides: https://www.stat.berkeley.e
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203. The Aliens Have Landed . . . and They Are Delicious, Visions of the
     Wild, Vallejo, CA, 15 September 2016.




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202. Simple Random Sampling: Not So Simple, Section of Theoretical
     Computer Science, IT University of Copenhagen, Copenhagen, Den-
     mark, 27 June 2016.


201. Simple Random Sampling: Not So Simple, Section of Mathemat-
     ics, École Polytechnique Fédérale de Lausanne (EPFL), Lausanne,
     Switzerland, 24 June 2016.


200. Invited panelist, “Carrot vs. Stick: approaches to encouraging repro-
     ducibility,” Moore-Sloan Data Science Environment Reproducibility
     Conference, New York University, New York, 3 May 2016.


199. Guest lecturer, MCB 15 (Public Understanding of Science), University
     of California, Berkeley, 12 April 2016.


198. Teaching Evaluations: Biased Beyond Measure, Center for Studies
     in Higher Education, and The Social Science Matrix, University of
     California, Berkeley, CA 11 April 2016. https://www.stat.berkeley
     .edu/~stark/Seminars/setCSHE16.htm Video: https://www.youtu
     be.com/watch?v=yhxUxBk-6GE, http://uctv.tv/shows/Teaching-E
     valuations-Biased-Beyond-Measure-30870


197. Teaching Evaluations (Mostly) Do Not Measure Teaching Effective-
     ness, Wharton Statistics Department, University of Pennsylvania,
     Philadelphia, PA, 17 March 2016. https://www.stat.berkeley.edu
     /~stark/Seminars/setPenn16.htm


196. Invited Panelist, “The potentials and pitfalls of electronic auditing,”
     Election Verification Network Conference: Securing Elections in the
     21st Century, George Washington University, Washington, DC, 10–11
     March 2016.




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195. Invited Panelist, “Interoperability standards, proprietary codes,
     and verification/testing,” III Arnold Workshop: Reproducibility in
     Modeling and Code, American Association for the Advancement of
     Science, Washington, DC, 16–17 January 2016. http://www.aaas.or
     g/event/iii-arnold-workshop-modeling-and-code


194. Teaching Evaluations (Mostly) Do Not Measure Teaching Effective-
     ness, Department of Applied Mathematics and Statistics, University
     of California, Santa Cruz, 1 February 2016. https://www.stat.berk
     eley.edu/~stark/Seminars/setUCSC16.htm


193. A Noob’s Guide to Reproducibility and Open Science, Department of
     Nuclear Engineering, Berkeley Institute for Data Science, and Berkeley
     Initiative for Transparency in Social Science, University of California,
     Berkeley, 25 January 2016. https://www.stat.berkeley.edu/~ star
     k/Seminars/reproNE16.htm Video: http://www.ustream.tv/recor
     ded/81987743


192. Chair, Wild Edibles Taste Workshop, 2015 Indigenous Terra Madre
     Conference, Shillong, Meghalaya, India, 3–7 November, 2015.


191. Invited Panelist, “From Field to Fork, the Stories of Chefs, Communi-
     ties, and Writers,” 2015 Indigenous Terra Madre Conference, Shillong,
     Meghalaya, India, 3–7 November, 2015. https://www.stat.berkele
     y.edu/~stark/Seminars/forageITM15.htm


190. Guest lecturer, ESPM 117 (Urban Garden Ecosystems), University of
     California, Berkeley, 20 October 2015. https://www.stat.berkeley.
     edu/~stark/Seminars/forageAgroEcol15.htm


189. Invited Panelist, “Statistical Implications of Big Data Applied to
     Risk Modeling,” Consortium for Data Analytics in Risk (CDAR)
     Symposium, University of California, Berkeley, 16 October 2015. htt




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     p://cdar.berkeley.edu/events/2015cdarsymposium/


188. Guest lecturer, Statistics 210A (Theoretical Statistics), University of
     California, Berkeley, 13–15 October 2015. https://github.com/pbst
     ark/Nonpar


187. Risk-Limiting Audits and the Colorado Uniform Voting System Pilot,
     Colorado Pilot Election Review Committee Meeting, Office of the
     Colorado Secretary of State, Denver, CO, 9 October 2015. https://w
     ww.stat.berkeley.edu/~ stark/Seminars/auditCO15.pdf


186. Wild and Feral Food in EBRPD, East Bay Regional Park District
     Volunteer Meeting, Oakland, CA, 15 September 2015. https://www.
     stat.berkeley.edu/~ stark/Seminars/forageEBRPD15.htm


185. Probability and Statistics for Physical Science and Engineering PhD
     Students (a 15-hour course), University of Tokyo, 23–26 August 2015.
     Materials: http://www.github.com/pbstark/PhysEng


184. Statistics for Engineering PhD students (a 30-hour course), University
     of Padova, Padova, Italy, 29 June–7 July 2015. Materials: http://ww
     w.github.com/pbstark/Padova15


183. Pay no attention to the model behind the curtain, Significant Digits:
     Responsible Use of Quantitative Information, European Commission
     Joint Research Centre, Brussels, Belgium, 9–10 June 2015. https://
     www.stat.berkeley.edu/~ stark/Seminars/rabbitsBrux15.htm


182. Reaping without Sowing: Wild Food and Urban Foraging, Berkeley
     Food Institute Seed Grant Forum, Berkeley, CA, 6 May 2015. htt
     ps://www.stat.berkeley.edu/~ stark/Seminars/bfi-15-5-6.htm
     Video: http://food.berkeley.edu/seed-grant-forum/




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181. Invited panelist, Data Science: Supporting new Modes of Research,
     Annual Meeting of the Association of Research Libraries, Berkeley,
     CA, 28–30 April, 2015.


180. Teaching evaluations: class act or class action?, National Center
     for the Study of Collective Bargaining in Higher Education and the
     Professions, Annual Conference, Hunter College, New York, NY, 19–21
     April 2015. https://www.stat.berkeley.edu/~ stark/Seminars/se
     tNCSCB15.htm


179. Where the Wild Things Grow, Berkeley Path Wanderers Association,
     Berkeley, CA, 4 April 2015. http://berkeleypaths.org/events/ev
     ent/where-the-wild-things-grow/


178. Invited panelist, Brave New Audits: How We Can Implement Risk-
     Limiting Audits with Today’s Machines, Off-the-Shelf Hardware, and
     Open Source Software, 2015 Election Verification Network Annual
     meeting, New Orleans, LA, 4–6 March 2015. https://www.stat.ber
     keley.edu/~stark/Seminars/evn15.htm Video: https://youtu.be
     /DBcVicxJigs


177. Co-chair, Election Auditing, NIST / U.S. Election Administration
     Commission Future of Voting Systems Symposium II, Washington,
     DC, 9–10 February 2015.


176. Teaching evaluations: truthful or truthy?, European Commission Joint
     Research Centre Third Lisbon Research Workshop on Economics,
     Statistics and Econometrics of Education, Lisbon, Portugal, 23–24
     January 2015. http://cemapre.iseg.ulisboa.pt/educonf/3e3/ ht
     tps://www.stat.berkeley.edu/~ stark/Seminars/setLisbon15.ht
     m


175. Bad Numbers, Bad Policy, 5th Impact Assessment Course by the
     Joint Research Centre and the Secretariat General of the European




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     Commission, Brussels, Belgium, 20–21 January 2015. https://ec.eu
     ropa.eu/jrc/en/event/training-course/5th-impact-assessment
     -course https://www.stat.berkeley.edu/~ stark/Seminars/faux
     Brux15.htm


174. Quantifauxcation, European Commission Joint Research Centre,
     Ispra, Italy, 19 January 2015. https://www.stat.berkeley.edu/~ st
     ark/Seminars/fauxIspra15.htm


173. Preproducibility for Research, Teaching, Collaboration, and Pub-
     lishing, Replicability and Reproducibility of Discoveries in Animal
     Phenotyping, Tel Aviv University, Tel Aviv, Israel, 5–7 January 2015.
     https://www.stat.berkeley.edu/~ stark/Seminars/reproTAU15.h
     tm
     Video: http://video.tau.ac.il/events/index.php?option=com_k
     2&view=item&id=5563:preproducibility-for-research-teaching
     -collaboration-and-publishing&Itemid=552


172. Urban Foraging—Real Street Food, Discover Cal: A Menu for Change,
     Los Angeles, CA, 18 November 2014. https://www.stat.berkeley.
     edu/~stark/Seminars/discoverCalLA14.htm


171. Guest lecturer, 6.S897/17.S952: Elections and Voting Technology,
     MIT, 13 November 2014.


170. Open Geospatial Data Down in the Weeds: Urban Foraging, Food
     Deserts, Citizen Science, Sustainability, and Reproducibility, Assessing
     the Socioeconomic Impacts and Value of ‘Open’ Geospatial Infor-
     mation, The George Washington University, Washington DC, 28–29
     October 2014. https://www.stat.berkeley.edu/~ stark/Seminars
     /openGeospatial14.htm


169. Student Evaluations of Teaching, University of San Francisco, 23
     October 2014. https://www.stat.berkeley.edu/~ stark/Seminars




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     /setUSF14.htm


168. Guest lecturer, CS 76N: Elections and Technology, Stanford University,
     14 October 2014.


167. Statistical Evidence and Election Integrity, XXIX International Forum
     on Statistics, UPAEP, Puebla, Mexico, 29 September–3 October 2014.
     https://www.stat.berkeley.edu/~ stark/Seminars/foro14.pdf


166. Nonparametric Inference, Auditing, and Litigation, Short course at
     XXIX International Forum on Statistics, UPAEP, Puebla, Mexico, 29
     September–3 October 2014. https://github.com/pbstark/MX14


165. Invited participant, Pew Charitable Trusts roundtable: Challenges
     Related to the Voting Systems Marketplace, Chicago, IL, 8 September
     2014.


164. Invited panelist, U.S. Election Assistance Commission roundtable:
     Expanding the Body of Knowledge of Election Administration–
     Reflections and Future Direction, 3 September 2014. http://www.ea
     c.gov/eac_grants_expanding_the_body_of_knowledge_of_elect
     ion_administration_%E2%80%93_reflections_and_future_dire/
     Video: http://mediasite.yorkcast.com/webcast/Play/a90f223fa
     61940cd893b70fab55fe1b51d


163. Reproducibility, Evidence, and the Scientific Method, Late-breaking
     session on Reproducibility, Joint Statistical Meetings, Boston, MA,
     2–7 August 2014. https://www.stat.berkeley.edu/~ stark/Semina
     rs/reproJSM14.htm


162. Invited panelist, Big Data & Academic Libraries, International
     Alliance of Research Universities, 3rd Librarians’ Meeting, University




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     of California, Berkeley, CA, 23–24 June 2014.


161. Mini-Minimax Uncertainty Quantification for Emulators, 2nd Confer-
     ence of the International Society for Nonparametric Statistics, Cadiz,
     Spain, 11–16 June 2014. https://www.stat.berkeley.edu/~ stark/
     Seminars/emulatorISNPS14.pdf


160. Reproducible and Collaborative Statistical Data Science, Trans-
     parency Practices for Empirical Social Science Research, 2014 Summer
     Institute, University of California, Berkeley, CA, 2–6 June 2014. http
     s://www.stat.berkeley.edu/~ stark/Seminars/bitss14.pdf


159. Risk-Limiting Audits for Denmark and Mongolia, Third DemTech
     Workshop on Danish Elections, Trust, and Technology for the Mon-
     golian General Election Commission, IT University of Copenhagen,
     Copenhagen, Denmark, 24 May 2014. https://www.stat.berkeley.
     edu/~stark/Seminars/itu14.pdf


158. How to Lie With Big Data (and/or Big Computations), Panel on Data
     Deluge or Drought (Quality and Quantity), MPE13+ Workshop on
     Global Change, DIMACS Special Program: Mathematics of Planet
     Earth 2013+, University of California, Berkeley, CA, 19–21 May 2014.
     https://www.stat.berkeley.edu/~ stark/Seminars/mpe14.pdf


157. Invited panelist, Relying on Data Science: Reproducible Research and
     the Role of Policy, DataEDGE conference, UC Berkeley School of
     Information, Berkeley, CA, 8–9 May 2014.


156. Invited panelist, Some Tools and Solutions, University of Washing-
     ton / Moore–Sloan First Reproducibility Workshop, eScience Institute,
     University of Washington, Seattle, WA, 8 May 2014 https://www.st
     at.berkeley.edu/~ stark/Seminars/reproUW14.pdf




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155. Some people have all the luck, Institute for Pure and Applied Mathe-
     matics, UCLA, Los Angeles, CA, 28 April 2014. (with Skip Garibaldi
     and Lawrence Mower) http://www.ipam.ucla.edu/programs/PUBLE
     C2014/ Video: https://www.youtube.com/watch?v=s8cHHWNblA4


154. Invited panelist, Ask a Statistician, SIAM/ASA/GAMM/AGU Con-
     ference on Uncertainty Quantification, Savannah, GA, 29 March –
     3 April 2014.


153. Invited panelist, The Reliability of Computational Research Findings:
     Reproducible Research, Uncertainty Quantification, and Verification
     & Validation, SIAM/ASA/GAMM/AGU Conference on Uncertainty
     Quantification, Savannah, GA, 29 March – 3 April 2014. https://www
     .stat.berkeley.edu/~ stark/Seminars/reproUQ14.pdf Video: htt
     p://client.blueskybroadcast.com/SIAM14/UQ/siam_uq14_MS42_3


152. Invited panelist, New Paradigms for Voting Systems, 2014 Election
     Verification Network Annual meeting, San Diego, CA, 5–7 March
     2014. https://www.stat.berkeley.edu/~ stark/Seminars/evn14Ne
     wParadigms.pdf Video: https://www.youtube.com/watch?v=bTlHY
     kiYBZI


151. Invited panelist, End-to-End Verifiable Voting Roundtable, 2014
     Election Verification Network Annual meeting, San Diego, CA, 5–7
     March 2014. Video: https://www.youtube.com/watch?v=jsGSQV_rF
     zA


150. Invited panelist, Improving Teaching through uncharted Waters: Peer
     Observation and other Approaches, Dialogues, a Colloquium Series on
     Teaching, Center for Teaching and Learning, University of California,
     Berkeley, 26 February 2014. http://teaching.berkeley.edu/dialo
     gues-colloquium-series-teaching




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149. Invited panelist, Unpacking the Voting Technology Debate, 2014
     Voting and Elections Annual Summit, Overseas Vote Foundation and
     U.S. Vote Foundation, George Washington University, Washington,
     D.C., 30 January 2014. https://www.overseasvotefoundation.org
     /initiatives-UOCAVAsummit-summit2014-agenda Video: http://w
     ww.youtube.com/watch?v=UXqqnOWhsmA&list=PLtRB8fQ0zBR8Nza-G
     -RGln-HTrkp4UM6F&feature=share&index=1#t=23m30s


148. Risk-Limiting Audits for Party-List Elections. IT University of
     Copenhagen, Copenhagen, Denmark, 21 November 2013. https://ww
     w.stat.berkeley.edu/~ stark/Seminars/itu13.pdf


147. Selective Inference and Conditional Tests. Department of Statistics
     and Operations Research, Tel Aviv University, Tel Aviv, Israel, 28
     October 2013.


146. Ontology of Earthquake Probability: Metaphor. Dynamics of Seismic-
     ity, Earthquake Clustering and Patterns in Fault Networks, Statistical
     and Applied Mathematical Sciences Institute (SAMSI), Research
     Triangle Park, NC, 9–11 October 2013. https://www.stat.berkeley
     .edu/~stark/Seminars/samsiSeis13.pdf


145. Invited panelist, Innovations in On-line Learning, Designing a World
     University, World Academy Forum on Global Higher Education,
     Berkeley, California, 2–3 October 2013.


144. E2E to Hand-to-Eye: Verifiability, Trust, Audits, Vote ID 2013: The
     4th International Conference on e-Voting and Identity, University of
     Surrey, Guildford, UK 17–19 July 2013. https://www.stat.berkele
     y.edu/~stark/Seminars/voteID13.pdf


143. Mini-Minimax Uncertainty of Emulators, Center for Security, Reliabil-
     ity, and Trust, University of Luxembourg, Luxembourg, 9 July 2013.
     https://www.stat.berkeley.edu/~ starkstark/Seminars/emulato




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     rLux13.pdf


142. Invited panelist, Extracting Actionable Insight From Dirty Time-
     Series Data, Berkeley Research Data Science Lectures, University of
     California, Berkeley, 21 June 2013. Video: http://vcresearch.berk
     eley.edu/datascience/webcast-data-science-lecture-series-
     june-21


141. Uncertainty quantification for emulators, Dipartimento di Fisica e
     Astronomia, Università di Bologna, Bologna, Italy, 5 June 2013. http
     s://www.stat.berkeley.edu/~ stark/Seminars/emulatorUniBo13.
     pdf


140. Leveraging Paper Ballots, Running Elections Efficiently, A Best
     Practices Convening, Common Cause – Common Cause / NY –
     Columbia University School of International and Public Affairs,
     Columbia University, New York, NY, 20 May 2013. https://www.sta
     t.berkeley.edu/~ stark/Seminars/ccNY13.pdf


139. Uncertainty quantification for emulators, University of California, Los
     Angeles, 11 April 2013. https://www.stat.berkeley.edu/~ stark/S
     eminars/emulatorUCLA13.pdf


138. Brittle and Resilient Verifiable Voting Systems, Verifiable Voting
     Schemes Workshop: from Theory to Practice, Interdisciplinary Centre
     for Security, Reliability and Trust, University of Luxembourg, Luxem-
     bourg 21–22 March 2013. https://www.stat.berkeley.edu/~ stark
     /Seminars/vv13.pdf


137. Now What?, Election Verification Network Annual Conference, The
     Right to a Secure, Transparent and Accurate Election, Atlanta,
     Georgia 14–15 March 2013. https://www.stat.berkeley.edu/~ sta
     rk/Seminars/evn13nowWhat.pdf




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136. Machine-Assisted Transitive Audits, Election Verification Network
     Annual Conference, The Right to a Secure, Transparent and Accurate
     Election, Atlanta, Georgia 14–15 March 2013.


135. Risk-limiting Audits and Evidence-Based Elections in a Nutshell,
     Election Verification Network Annual Conference, The Right to a
     Secure, Transparent and Accurate Election, Atlanta, Georgia 14–15
     March 2013. https://www.stat.berkeley.edu/~ stark/Seminars/e
     vn13nutshell.pdf


134. Reproducibility in Computational and Experimental Mathematics,
     ICERM, Brown University, Providence, RI, 10–14 December 2012. ht
     tp://icerm.brown.edu/tw12-5-rcem


133. Whaddya know? Bayesian and Frequentist approaches to inverse
     problems, Inverse Problems: Practical Applications and Advanced
     Analysis, Schlumberger WesternGeco, Houston, TX, 12–15 November
     2012. https://www.stat.berkeley.edu/~ stark/Seminars/swg12.p
     df


132. Evidence-Based Elections, E-Voting: Risk and Opportunity Confer-
     ence, Center for Information Technology Policy, Princeton University,
     Princeton, NJ, 1 November 2012. https://www.stat.berkeley.edu/
     ~stark/Seminars/princeton12.pdf Video: http://youtu.be/1Z6J
     W1t_sFI


131. Evidence-Based Elections, Berkeley/Stanford Data, Society and
     Inference Seminar, Stanford University, Stanford, CA 8 October 2012.
     https://www.stat.berkeley.edu/~ stark/Seminars/dataSocietyI
     nference12.pdf


130. Voting Technology Exploratory Meeting, The Pew Charitable Trusts
     Center on the States, Santa Monica, CA 23–24 August 2012.




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129. Lightning Debates, Workshop on Electronic Voting Technology / Work-
     shop on Transparent Elections, (EVT/WOTE ’12), USENIX, Bellevue,
     WA, 6–7 August 2012. Video: https://www.usenix.org/conferenc
     e/evtwote12/panel-2-title-tbd


128. BRAVO: Ballot-polling Risk-limiting Audits to Verify Outcomes,
     Workshop on Electronic Voting Technology / Workshop on Trans-
     parent Elections, (EVT/WOTE ’12), USENIX, Bellevue, WA, 6–7
     August 2012. https://www.stat.berkeley.edu/~ stark/Seminars/
     evt12.pdf Video: https://www.usenix.org/conference/evtwote1
     2/s6-paper-title-tbd


127. The Will of the People and the Luck of the Draw: Using Statistics
     to Limit the Risk of Wrong Electoral Outcomes, Joint Statistical
     Meetings, San Diego, CA, 29 July 2012. https://www.stat.berkele
     y.edu/~stark/Seminars/jsm12.pdf


126. Evidence-Based Elections, Risk-Limiting Audits, and Resilient Can-
     vass Frameworks, SecVote 2012 Summer School on Secure Voting,
     Leibniz-Zentrum für Informatik, Schloss Dagstuhl, Germany, 16 July
     2012. https://www.stat.berkeley.edu/~ stark/Seminars/dagstuh
     l12.pdf


125. The Effectiveness of Internet Content Filters, Distinguished Lecture
     (http://wwwen.uni.lu/snt/distinguished_lectures), Center for
     Security, Reliability, and Trust, University of Luxembourg, Luxem-
     bourg, 13 July 2012. https://www.stat.berkeley.edu/~ stark/Sem
     inars/luxembourg12.pdf


124. Evidence-Based Elections, International Association of Clerks,
     Recorders, Election Officials & Treasurers (IACREOT) annual confer-
     ence, Albuquerque, NM, 30 June 2012. https://www.stat.berkeley
     .edu/~stark/Seminars/iacreot12.pdf




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123. Confidence Limits, Progress on Statistical Issues in Searches, SLAC
     National Accelerator Laboratory, Stanford, CA, 4–6 June 2012. http
     s://www.stat.berkeley.edu/~ stark/Seminars/slac12.pdf


122. UQQ, UQ: Transition Workshop, Statistical and Applied Mathemat-
     ical Sciences Institute (SAMSI), Research Triangle Park, NC, 21–23
     May 2012. https://www.stat.berkeley.edu/~ stark/Seminars/sa
     msi12.pdf


121. Testing for Poisson Behavior, Seismological Society of America Annual
     Meeting, San Diego, CA, 17–19 April 2012. https://www.stat.berk
     eley.edu/~stark/Seminars/ssa12.pdf


120. Get Out The Audit (GOTA), Election Verification Network Annual
     Conference, Santa Fe, NM, 29–30 March 2012. https://www.stat.be
     rkeley.edu/~stark/Seminars/evnGOTA12.pdf


119. The Long View: Evidence-Based Elections, Election Verification
     Network Annual Conference, Santa Fe, NM, 29–30 March 2012. https
     ://www.stat.berkeley.edu/~ stark/Seminars/evnLongView12.pdf


118. The Will of the People and the Luck of the Draw: Risk-Limiting
     Audits and Resilient Canvass Frameworks, San Francisco Chapter of
     the American Statistical Association, Berkeley, CA, 16 February 2012.
     https://www.stat.berkeley.edu/~ stark/Seminars/asa12.pdf


117. Evidence-Based Elections: Colorado’s Future?, Colorado Elections
     Best Practices & Vision Commission, Denver, CO, 14 December 2011.
     https://www.stat.berkeley.edu/~ stark/Seminars/co-11-12-14.
     pdf Audio: mms://pub.sos.state.co.us/20111214130705B


116. From the Virtual Trenches, Letters and Sciences Colloquium on
     Undergraduate Education: The Virtual University—Challenges and




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     Opportunities, University of California, Berkeley, CA, 16 November
     2011. http://ls.berkeley.edu/stories/archive/fall-2011-coll
     oquium-undergraduate-education-0 https://www.stat.berkeley
     .edu/~stark/Seminars/onlineEd11.pdf Video: http://www.youtu
     be.com/watch?v=40vGDuPSJso


115. Earthquake Clustering and Declustering, Institute de Physique du
     Globe de Paris, Paris, France, 4 October 2011. https://www.stat.b
     erkeley.edu/~stark/Seminars/ipg11.pdf


114. Fears, Predictions, Hopes & Plans, Panel on the Future, Election
     Integrity: Past, Present, and Future, Caltech/MIT Voting Technology
     Project, Cambridge, MA, 1 October 2011. https://www.stat.berke
     ley.edu/~stark/Seminars/mit11.pdf Video: http://techtv.mit.
     edu/collections/vtp/videos/14802-eippf-2011-3-the-future


113. Risk-limiting Audits: Soup to Nuts, and Beyond, Workshop on
     Electronic Voting Technology / Workshop on Transparent Elections,
     (EVT/WOTE ’11), USENIX, San Francisco, CA, 9 August 2011. htt
     ps://www.stat.berkeley.edu/~ stark/Seminars/evtRLA11.pdf


112. SOBA: Secrecy-preserving Observable Ballot-level Audit, Workshop on
     Electronic Voting Technology / Workshop on Transparent Elections,
     (EVT/WOTE ’11), USENIX, San Francisco, CA, 9 August 2011. htt
     ps://www.stat.berkeley.edu/~ stark/Seminars/evtSoba11.pdf


111. The Effectiveness of Internet Content Filtering, Workshop on Free
     and Open Communication on the Internet (FOCI ’11), USENIX, San
     Francisco, CA, 8 August 2011. https://www.stat.berkeley.edu/~ s
     tark/Seminars/foci11.pdf


110. SticiGui, Onsophic, and Statistics W21, Panel on online instruction,
     Joint Statistical Meetings, Miami Beach, FL, 31 August 2011. https:




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     //www.stat.berkeley.edu/~ stark/Seminars/jsm11.pdf


109. Risk Limiting Audits, Colorado Secretary of State, Colorado Risk
     Limiting Audit (CORLA) Kick-off Meeting, Denver, CO, 16 June
     2011. https://www.stat.berkeley.edu/~ stark/Seminars/co-11-6
     -16.pdf


108. Simultaneous Confidence Intervals with more Power to Determine
     Signs, Conference in honor of Erich Lehmann, Rice University, Hous-
     ton, TX, 12 May 2011. https://www.stat.berkeley.edu/~ stark/S
     eminars/lehmann11.pdf


107. Close enough for government [to] work, Verified Voting Foundation,
     Palo Alto, CA, 27 April 2011. https://www.stat.berkeley.edu/~ s
     tark/Seminars/vv-11-4-27.pdf


106. Close enough for government [to] work: Risk-limiting post-election
     audits, Berkeley-Stanford Joint Statistics Colloquium, Stanford Uni-
     versity, Stanford, CA, 12 April 2011. https://www.stat.berkeley.e
     du/~stark/Seminars/stanford11.pdf


105. Audits: The After-Math of Elections, Verify early, verify often: cre-
     ating secure, transparent and accurate elections, Election Verification
     Network, Chicago, IL, 25–26 March 2011. https://www.stat.berkel
     ey.edu/~stark/Seminars/reed11.pdf


104. Simultaneous Confidence Intervals with more Power to Determine
     Signs, Department of Mathematics, Reed College, Portland, OR, 10
     March 2011. https://www.stat.berkeley.edu/~ stark/Seminars/r
     eed11.pdf


103. Close enough for government work: Risk-Limiting Post-Election
     Audits, Wharton Statistics Department, University of Pennsylvania,




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     Philadelphia, PA, 26 January 2011. https://www.stat.berkeley.ed
     u/~stark/Seminars/penn11.pdf


102. Audits: The After-Math of Election Reform, Conference on Innovative
     Electoral Reforms and Strategies, Washington, DC, 10–11 December
     2010. https://www.stat.berkeley.edu/~ stark/Seminars/innovat
     ive10.pdf


101. Risk-Limiting Post-Election Audits: Statistics, Policy, and Politics,
     Department of Statistics, Rice University, Houston, TX, 1 November
     2010. https://www.stat.berkeley.edu/~ stark/Seminars/rice10.
     pdf


100. Are Declustered Earthquake Catalogs Poisson?, Department of Statis-
     tics, Pennsylvania State University, State College, PA, 14 October
     2010. https://www.stat.berkeley.edu/~ stark/Seminars/psu10.p
     df


 99. Super-simple simultaneous single-ballot risk-limiting audits, 2010
     Electronic Voting Technology Workshop / Workshop on Trustworthy
     Elections (EVT/WOTE ’10), Washington, DC, 9–10 August 2010. ht
     tps://www.stat.berkeley.edu/~ stark/Seminars/evtwote10.pdf


 98. AB 2023 and Risk-Limiting Audits, California Association of Clerks
     and Election Officials Legislative Committee Meeting, 14 May 2010. h
     ttps://www.stat.berkeley.edu/~ stark/Seminars/caceo-legis10
     .pdf


 97. Justice and inequalities, Department of Statistics and Operations
     Research, Tel Aviv University, Tel Aviv, Israel, 13 April 2010. https:
     //www.stat.berkeley.edu/~ stark/Seminars/tau10.pdf




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 96. Size Matters: Smaller Batches Yield More Efficient Risk-Limiting
     Audits, Small-Batch Audit Meeting, Washington, DC, 27–28 March
     2010. https://www.stat.berkeley.edu/~ stark/Seminars/smallBa
     tch10.pdf


 95. Sexy Audits and the Single Ballot, Election Verification Network
     (EVN) annual conference, Washington, DC, 25–27 March 2010. http
     s://www.stat.berkeley.edu/~ stark/Seminars/evn10.pdf


 94. Simple, Affordable, Post-Election Audits, Institute for Mathematical
     Behavioral Sciences, University of California, Irvine, CA, 7 January
     2010. https://www.stat.berkeley.edu/~ stark/Seminars/uci10.p
     df


 93. Efficient Post-Election Audits of Multiple Contests: 2009 California
     Tests, Conference on Empirical Legal Studies, University of Southern
     California Gould School of Law, Los Angeles, CA, 20–21 November
     2009. https://www.stat.berkeley.edu/~ stark/Seminars/cels09.
     pdf


 92. Risk-Limiting Audits, Audit Working Meeting, American Statistical
     Association, Arlington, VA, 23–24 October 2009. https://www.stat.
     berkeley.edu/~stark/Seminars/asa09.pdf


 91. Invited panelist, Uncertainty Quantification and Error Analysis, Sci-
     entific Grand Challenges in National Security: the Role of Computing
     at the Extreme Scale, Washington, DC, 6–8 October 2009.


 90. Some Ado about (mostly) Nothing: zero-dominated data, Alameda
     County Workshop on Avian Mortality at Altamont, Emeryville, CA,
     22 September 2009. https://www.stat.berkeley.edu/~ stark/Semi
     nars/altamont09.pdf




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 89. Freedman’s Dialogue with the Social Sciences, 2009 Joint Statistical
     Meetings, Washington, DC, 5 August 2009.


 88. Invited panelist, David A. Freedman’s Dialogue with the Social
     Sciences, The Society for Political Methodology 26th Annual Summer
     Meeting, Institution for Social and Policy Studies, Yale University,
     New Haven, CT, 23 July 2009.


 87. Election Auditing: How Much is Enough?, The Society for Political
     Methodology 26th Annual Summer Meeting, Institution for Social and
     Policy Studies, Yale University, 23 July 2009. (Keynote lecture) http
     s://www.stat.berkeley.edu/~ stark/Seminars/polMeth09.pdf


 86. Risk-Limiting Post-Election Audits, Department of Statistics, Univer-
     sity of California, Berkeley, CA, 31 March 2009. https://www.stat.
     berkeley.edu/~stark/Seminars/ucb09.pdf


 85. Uncertainty Quantification Qualification, Lawrence Livermore Na-
     tional Laboratory, Livermore, CA, 26 March 2009. https://www.sta
     t.berkeley.edu/~ stark/Seminars/llnl09.pdf


 84. 2008 Risk-limiting Audits in California, The Pew Charitable Trusts
     Audit Workshop, Salt Lake City, UT, 23–24 February 2009. https://
     www.stat.berkeley.edu/~ stark/Seminars/pew09.pdf


 83. Election Auditing and Nonparametric Confidence Bounds, Department
     of Mathematics, Reed College, Portland, OR, 20 November 2008. htt
     ps://www.stat.berkeley.edu/~ stark/Seminars/reed08.pdf


 82. Risk-Limiting Post-Election Audits, Department of Statistics, Kansas
     State University, Manhattan, KS, 2 October 2008. https://www.sta
     t.berkeley.edu/~ stark/Seminars/ksu08.pdf




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 81. CAST: Canvass Audits by Sampling and Testing, 2008 American
     Political Science Association Annual Meeting, Panel 2008MP04292:
     Catch Me If You Can: Techniques to Detect Electoral Fraud, Boston,
     MA, 28–31 August 2008. https://www.stat.berkeley.edu/~ stark/
     Seminars/apsa08.pdf


 80. Invited panelist, Joint Statistical Meetings session, Statistical Mea-
     sures Can Help Restore Confidence in U.S. Elections, Denver, CO, 3–7
     August 2008.


 79. Invited Panel on Post-Election Auditing: The Academic & Advocacy
     Perspective, California Association of Clerks and Election Officials
     (CACEO) 100th Anniversary Celebration Conference, Long Beach,
     CA, 8–11 July 2008.


 78. Statistical Audits: Why and How Much?, Invited Panel on Post-
     Election Auditing: Practical Experience and Best Practices, California
     Association of Clerks and Election Officials (CACEO) 100th Anniver-
     sary Celebration Conference, Long Beach, CA, 8–11 July 2008. https
     ://www.stat.berkeley.edu/~ stark/Seminars/caceo08.pdf


 77. Invited Panel on Online Learning, UC21st Century, Teaching, Learning
     and Technology: Past, present and future, University of California,
     Davis, 20–21 June 2008.


 76. SticiGui—What is it?, Department of Statistics, University of Califor-
     nia, Los Angeles, CA, 29 May 2008. https://www.stat.berkeley.e
     du/~stark/Seminars/ucla08.pdf


 75. Election Auditing: How Much Is Enough?, Mathematical Sciences Re-
     search Institute, Annual Meeting of Academic Sponsors and Steering
     Committee, Berkeley, CA, 7 March 2008. https://www.stat.berkel
     ey.edu/~stark/Seminars/msri08.pdf




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 74. Invited panelist, 2007 Post Election Audit Summit, Minneapolis, MN,
     25–27 October 2007. https://www.stat.berkeley.edu/~ stark/Sem
     inars/peaSummit07.pdf


 73. Urning Voter Confidence, Department of Mathematics, Reed College,
     Portland, OR, 11 October 2007. https://www.stat.berkeley.edu/~
     stark/Seminars/reed07.pdf


 72. Frequentist Methods in Inverse Problems, Sandia CSRI Workshop on
     Large-Scale Inverse Problems and Quantification of Uncertainty, Santa
     Fe, NM, 10–12 September 2007. https://www.stat.berkeley.edu/~
     stark/Seminars/sandia07.odp


 71. How Statistics Helps, 9th US Congress on Computational Mechanics,
     San Francisco, CA, 22–26 July 2007. https://www.stat.berkeley.e
     du/~stark/Seminars/compMech07.odp


 70. Nonparametrics: nonpareil?, Veterans Administration Hospital, Neu-
     ropsychology Brown Bag Lunch, Martinez, CA, 15 May 2007. https:
     //www.stat.berkeley.edu/~ stark/Seminars/ebire-5-15-07.pdf


 69. The Null Hypothesis: Are Earthquakes Predictable?, Assessment
     schemes for earthquake prediction, Royal Astronomical Society/Joint
     Association for Geophysics Discussion Meeting 7–8 November 1996, the
     Geological Society, London

 68. Shaking Down Earthquake Predictions, Department of Statistics,
     University of California, Davis, 25 May 2006 https://www.stat.ber
     keley.edu/~stark/Seminars/ucd-5-25-06.pdf


 67. Measuring Resolution in Nonlinear and Constrained Inverse Problems,
     Workshop on Statistical Inverse Problems, Institute for Mathematical
     Stochastics, Göttingen, Germany, 23–25 March 2006. http://www.nu
     m.math.uni-goettingen.de/gk/?Workshops:Workshop_on_Statist




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     ical_Inverse_Problems


 66. Resolution in Nonlinear and Constrained Inverse Problems, Workshop
     on Computational and Mathematical Geoscience, Colorado School of
     Mines, Golden CO, 15–17 June 2005.


 65. Quantifying uncertainty in inverse problems, Summer school: Mathe-
     matical Geophysics and Uncertainty in Earth Models, Colorado School
     of Mines, Golden CO, 14–25 June 2004. https://www.stat.berkele
     y.edu/~stark/Seminars/mines04.pdf


 64. Estimating power spectra of galaxy structure: can Statistics help?,
     Penetrating bars through masks of cosmic dust: the Hubble tuning
     fork strikes a new note, Pilanesberg National Park, South Africa, 7–12
     June 2004. http:www.stat.berkeley.edu/~ stark/Seminars/bars0
     4.ppt


 63. Quantifying uncertainty in inverse problems, Institute for Pure and
     Applied Mathematics (IPAM) Conference on Statistical Methods for
     Inverse Problems, IPAM, Los Angeles, CA, 5–6 November 2003. http
     s://www.stat.berkeley.edu/~ stark/Seminars/ipam03.ppt


 62. Using what we know: inference with physical constraints, PhyStat
     2003: Statistical Problems in Particle Physics, Astrophysics and
     Cosmology, Stanford Linear Accelerator Center, Stanford, CA, 8–10
     September 2003. https://www.stat.berkeley.edu/~ stark/Semina
     rs/phyStat03.pdf


 61. Statistical Approaches to Inverse Problems. Danish Interdisciplinary
     Inversion Group Seminars on Inverse Problems: Insight and Algo-
     rithms. Niels Bohr Institute, Copenhagen University, Copenhagen,
     Denmark, 27–29 May 2002. https://www.stat.berkeley.edu/~ sta
     rk/Seminars/bohr02.ppt




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 60. Statistical Measures of Uncertainty in Inverse Problems. Institute for
     Mathematics and its Applications Tutorial on Inverse Problems and
     the Quantification of Uncertainty, Annual Program Mathematics in
     the Geosciences, Minneapolis, MN, 19 March 2002. https://www.sta
     t.berkeley.edu/~ stark/Seminars/ima02.ppt


 59. Data Errors, Model Errors, and Estimation Errors, Frontiers of
     Geophysical Inversion Workshop, Waterways Experiment Station,
     U.S. Army Corps of Engineers Engineer Research and Development
     Center, Vicksburg, MS, 17–19 February 2002. https://www.stat.be
     rkeley.edu/~stark/Seminars/wes02.ppt


 58. Strategic Planning and Implementation I: The Challenge of Adapting
     Organizations and Creating Partnerships to Target New Markets,
     University Teaching as E-business?, Center for Studies in Higher
     Education, Berkeley, CA, 26–27 October 2001.


 57. Inverse Problems and Data Errors, New Developments in Astrophysical
     Fluid Dynamics, Chateau de Mons, Caussens, France, 25–29 June 2001.


 56. Data Reduction and Inverse Problems in Helioseismology, Workshop
     Statistics of inverse problems, Institut Henri Poincaré, Paris, France,
     28–29 May 2001.


 55. Why Statistics is worth the Stigma, Letters and Sciences Faculty
     Forum, University of California, Berkeley, CA, 23 April 2001. https:
     //www.stat.berkeley.edu/~ stark/Seminars/stigma01.ppt


 54. Inverse Problems in Helioseismology, Second MaPhySto Workshop on
     Inverse Problems: Inverse problems from a Statistical Perspective,
     Aalborg, Denmark, 28–31 March 2001.




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 53. What are the Chances?, NATO Advanced Research Workshop: State
     of scientific knowledge regarding earthquake occurrence and implica-
     tions for public policy, Le Dune, Piscinas — Arbus, Sardinia, Italy,
     15–19 October 2000.


 52. Why Unadjusted Census Results should be Used for Reapportionment
     and Funding within the State of California, 13th Annual Demographic
     Workshop, U.S. Bureau of the Census, California State Census Data
     Center, and the Population Research Laboratory of the University of
     Southern California, Los Angeles, CA, 15 May 2000.


 51. Invited discussant, Workshop of the National Academy of Sciences
     Panel to Review the 2000 Census, Washington, D.C., 2–3 February
     2000.


 50. Invited discussant, Panel discussion on the role of sampling in the US
     Census, San Francisco Bay Area Chapter of the American Statistical
     Association, 20 December 1999.


 49. Lecturer, Mathematical Geophysics Summer School, Stanford Univer-
     sity, Stanford, CA, 2–20 August 1999.


 48. Less Asymptotic Tomography. 9th SOHO Workshop: Helioseismic
     Diagnostics of Solar Convection and Activity, Stanford University,
     Stanford, CA, 12–15 July 1999.


 47. Invited panelist, Reinventing Undergraduate Education: Technology
     Enhanced Learning in the Sciences, Math, and Engineering, University
     of California, Berkeley, CA, 23 April 1999.


 46. Error in Numerical Models Fitted to Data. DSRC/DARPA Study on
     Numerical Simulation of Physical Systems: The State of the Art, and
     Opportunities for Further Advances, Kick-Off Meeting, Arlington, VA,




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     19–20 January 1999. https://www.stat.berkeley.edu/~ stark/Sem
     inars/dsrc99.htm


 45. Sampling to Adjust the U.S. Census. Miller Institute for Basic Re-
     search in Science, University of California, Berkeley, CA, 12 January
     1999. https://www.stat.berkeley.edu/~ stark/Seminars/mibrs99
     .htm


 44. A Statistician’s Perspective on Census Adjustment, Berkeley Breakfast
     Club, Berkeley, CA, 5 December 1998. https://www.stat.berkeley
     .edu/~stark/Seminars/bbc98.htm


 43. SticiGui: Melts in your Browser, not in your Brain, Joint Berkeley-
     Stanford Statistics Colloquium, Department of Statistics, Stanford
     University, Stanford, CA, 27 October 1998. https://www.stat.berk
     eley.edu/~stark/Seminars/bsc98.htm


 42. SticiGui: Statistics Tools for Internet and Classroom Instruction with
     a Graphical User Interface, 1998 Joint Statistical Meetings of the
     American Statistical Association, International Biometric Society,
     and Institute of Mathematical Statistics, Orlando, FL, 12 August 1998.


 41. Presidential Panel on Statistics in Public Policy, 1998 Joint Statistical
     Meetings of the American Statistical Association, International Bio-
     metric Society, and Institute of Mathematical Statistics, Orlando, FL,
     10 August 1998.


 40. Misfit Measures and Statistical Inconsistency in Linear Inverse Prob-
     lems. AMS/IMS/SIAM Joint Summer Research Conferences in the
     Mathematical Sciences, Mathematical Methods in Inverse Problems
     for Partial Differential Equations, Mt. Holyoke, MA, 4–9 July 1998. h
     ttps://www.stat.berkeley.edu/~ stark/Seminars/ams-ims-siam-
     98.pdf




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 39. Uncertainties for functions from incomplete, erroneous data.
     NSF/DOE Workshop on Uncertainty in Modeling, National Sci-
     ence Foundation, Arlington, VA, 11–12 June 1998. https://www.sta
     t.berkeley.edu/~ stark/Seminars/nsf-doe-98.htm


 38. Sampling to adjust the 1990 Census for Undercount. U.S. House of
     Representatives Subcommittee on the Census, May 1998. https://ww
     w.stat.berkeley.edu/~ stark/Census/house-5-5-98-pbs.pdf


 37. Sounding the Sun: Helioseismology. 1998 American Association for
     the Advancement of Science (AAAS) Annual Meeting and Science
     Innovation Exposition, Philadelphia, PA., February 1998. https://w
     ww.stat.berkeley.edu/~ stark/Seminars/Aaas/helio.htm


 36. Data Sampling Rate Reduction for the OERSTED geomagnetic
     Satellite, Department of Geological Sciences, Stanford University,
     Stanford, CA, 28 July 1997. https://www.stat.berkeley.edu/~ sta
     rk/Preprints/Oersted/writeup.htm


 35. Does God play dice with the Earth, and if so, are they loaded? Fourth
     SIAM Conference on Mathematical and Computational Methods in
     the Geosciences, Albuquerque, NM, 16 June 1997. https://www.stat
     .berkeley.edu/~ stark/Seminars/doesgod.htm


 34. Solving Problems for a Large Statistics Lecture Course using a Website
     UC Berkeley Academic Senate Workshop on Classroom Technology,
     Berkeley, CA, 11 April 1997. https://www.stat.berkeley.edu/~ st
     ark/Seminars/itpTalk.htm


 33. Deficiencies of the simple theories, Local Helioseismology Workshop,
     University of Cambridge, Cambridge, England, 1997.




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 32. CMB’s, Royal Astronomical Society Ordinary Meeting, London,
     England, 1996.


 31. The Null Hypothesis, Royal Astronomical Society and Joint Associa-
     tions for Geophysics discussion meeting on Assessment of Schemes for
     Earthquake Prediction, London, England, 1996.


 30. On the consistency of multiple inference in inverse problems using lp
     confidence sets, International Conference on Multiple Comparisons,
     Tel Aviv, Israel, 1996.


 29. Confidence Intervals in Inverse Problems, Conference in Honor of
     George Backus, Institute for Geophysics and Planetary Physics, La
     Jolla, CA, 1995.


 28. The Need for Wave-Equation Travel-Time Tomography, Institute
     for Mathematics and Its Applications, Conference on Tomography,
     Minneapolis, MN, 1995.


 27. Inference, Prior Information, and Misfit Measures, Interdisciplinary
     Inversion Conference on Methodology, Computation and Integrated
     Applications, University of Aarhus, Aarhus, Denmark, 1995.


 26. Optimization and Inference in Travel-Time Seismology, National
     Research Council Board on Mathematical Sciences Symposium on
     Mathematical Sciences in Seismology, Washington, DC, 1995.


 25. Prior Information and Confidence Intervals in Inverse Problems,
     International Union of Geodesy and Geophysics Meeting, Boulder,
     CO, 1995.




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 24. Something AGAINST Nothing: A Confidence Game, Joint Statistical
     Meetings of the American Statistical Association, International Bio-
     metric Society, and Institute of Mathematical Statistics, Orlando, FL,
     1995.


 23. Uncertainties in Travel-Time Seismology, SIAM/GAMM Symposium
     on Inverse Problems: Geophysical Applications, Fish Camp, CA, 1995.


 22. Toward Tubular Tomography, 27th General Assembly of the Int.
     Assoc. of Seismology and Phys. of the Earth’s Inter. (IASPEI),
     Wellington, New Zealand, 1994.


 21. Alternative Data Analysis Techniques, Global Oscillation Network
     Group annual meeting, Los Angeles, CA, (presented by C. Genovese
     due to illness), 1994.


 20. Mathematical Aspects of Integral Equation Inversion, Global Oscilla-
     tion Network Group workshop, Sydney, Australia, 1994.


 19. Conservative Finite-Sample Confidence Envelopes for Monotone and
     Unimodal Densities, Mathematisches Forschungsinstitut Oberwolfach
     meeting on Curves, Images and Massive Computation, Oberwolfach,
     Germany, 1993.


 18. Invited discussant, Joint IMS/ASA/ENAR Meeting, Philadelphia,
     PA, 1993.


 17. Uncertainty of the Quadrupole Component of the Cosmic Microwave
     Background, Israel Statistical Association Annual Meeting, Tel Aviv,
     1993.




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 16. Brute-Force Minimax Estimation in Geochemistry, Joint Statistical
     Meetings of the American Statistical Association, International Bio-
     metric Society, and Institute of Mathematical Statistics, San Francisco,
     CA, 1993.


 15. Conservative Numerical Uncertainty Estimates in Inverse Problems,
     SIAM 40th Anniversary Meeting, Los Angeles, CA, 1992.


 14. Minimax Estimation in Geomagnetism, European Geophysical Society
     Annual Meeting, Wiesbaden, Germany, 1991.


 13. Minimax Estimation in Geophysical Inverse Problems: Applications
     to Seismic Tomography and Geomagnetism, Schmitt Institute for
     Physics of the Earth, Academy of Sciences of the USSR, Moscow, 1991.


 12. Imagining Earth’s Interior: Controversies in Seismology and Geo-
     magnetism, Mathematical Sciences Research Institute Workshop on
     Statistical Methods in Imaging, Berkeley, CA, 1991.


 11. Discretization and its Discontents: New Methods in Inverse Theory,
     Institute for Theoretical Physics program Helioseismology—Probing
     the Interior of a Star, National Science Foundation Institute for
     Theoretical Physics, University of California, Santa Barbara, 1990.


 10. Inference in Infinite-Dimensional Inverse Problems, Schmitt Institute
     for Physics of the Earth, Academy of Sciences of the USSR, Moscow,
     1990.


  9. Inference in Infinite-Dimensions: Discretization and Duality, Israel
     Statistical Association Annual Meeting, Jerusalem, 1990.




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  8. Superresolution: What, When and How?, Institute for Theoretical
     Physics program Helioseismology—Probing the Interior of a Star, Na-
     tional Science Foundation Institute for Theoretical Physics, University
     of California, Santa Barbara, 1990.


  7. Sparsity-Constrained Deconvolution, International Union of Radio
     Science Meeting, Boulder, CO, 1989.


  6. Invited discussant, Statistics, Earth and Space Sciences Meeting of the
     Bernoulli Society, Leuven, Belgium, 1989.


  5. Rigorous Computer Solutions to Infinite-Dimensional Inverse Prob-
     lems, rcp 264 problemes inverses, Montpellier, France, 1989.


  4. Duality and Discretization Error, Conference on Mathematical Geo-
     physics, Blanes, Spain, 1988.


  3. Spectral extrapolation with positivity, International Union of Radio
     Science Meeting, Boulder, CO, 1987.


  2. Travel-Time Constraints on Core Structure, Special Session on Geo-
     physics of the Core and Core-Mantle Boundary, American Geophysical
     Union Spring Meeting, Baltimore, MD, 1986.


  1. Smooth Models from tau(p) and X(p) Data, Scripps Industrial
     Associates Short Course on Inverse Theory, Scripps Institution of
     Oceanography, La Jolla, CA, 1986.



Other Invited Seminars
     California State University, Chico (Mathematics 1993)




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     Colorado School of Mines (Mathematical and Computer Sciences 1997)

     Copenhagen University (Niels Bohr Institute for Astronomy, Physics,
     and Geophysics 1996)

     Hebrew University of Jerusalem (Statistics 1993)

     IT University of Copenhagen (2013, 2014, 2016)

     Kansas State University (Statistics 2008)

     Pennsylvania State University (Statistics 1010)

     National Solar Observatory (1997)

     Naval Postgraduate School (Operations Research, 2001)

     Reed College (Mathematics, 2007, 2008, 2011)

     Rice University (Statistics, 2010)

     Schlumberger-Doll Research (1988, 1990, 1991, 1992)

     Southern Methodist University (Statistical Sciences, 1998)

     Stanford University (Center for Space Physics and Astrophysics 1992;
     Mathematics 1997; Geology and Geophysics 1993, 1997; Statistics 1988,
     1993, 1995, 2011)

     The Technion (Statistics 1987)

     Tel Aviv University (Geology and Geophysics 1988, 1991; Statistics
     1991, 2010)

     University of Bologna (Physics and Astronomy, 2013)

     University of British Columbia (Geophysics and Astronomy 1996)

     University of California, Berkeley (Astronomy 1996; Center for Pure
     and Applied Mathematics 1988; Geology and Geophysics 1988; Ma-
     terials Science and Mineral Engineering 1988; Physics, 2001; Seismo-
     graphic Stations, 1991, 1992, 1996; Statistics 1987, 1988(2),1989(2),
     1990, 1991, 1992, 1994, 1996(2), 1997, 2006, 2009, 2011)




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     University of California, Davis (Statistics 1995, 2006; Mathematics
     2000)

     University of California, Los Angeles (Mathematics 1992; Statistics
     2000, 2008, 2013)

     University of California, Riverside (Earth Sciences 1996; Statistics
     1996)

     University of California, San Diego (Institute for Geophysics and Plan-
     etary Physics 1985, 1986, 1987, 1988(2), 1990, 1998, 2005; Mathematics
     1994)

     University of Cambridge (Institute for Astronomy 1992, 1997)

     University of Chicago (Statistics 1990)

     University of Edinburgh (Earth Sciences, 1998)

     University of Luxembourg (Interdisciplinary Centre for Security, Reli-
     ability and Trust 2012)

     University of Paris, Institute de Physique du Globe de Paris (2011)

     University of Pennsylvania (Wharton Statistics Department, 2011)

     University of Texas at Austin (Geological Sciences 1988; Mathematics
     1990, 1991; Institute for Geophysics 1990)

     Veterans Affairs Northern California Health Care System, Martinez,
     CA (East Bay Institute for Research and Education, 2007)

     Yale University (Geology and Geophysics 1988; Statistics 1988)


 Press
210. West Virginia is testing a mobile voting app for the midterms. What
     could go wrong?, Jen Kirby, Vox, 17 August 2018. https://www.vox.
     com/2018/8/17/17661876/west-virginia-voatz-voting-app-ele
     ction-security




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      article-1320840/Fifty-million-Mother-defies-odds-birth-10
      -10-10-born-09-09-09-08-08-08.html?ito=feeds-newsxml


  32. Mom’s babies born on 8-8-08, 9-9-09, 10-10-10. Elizabeth Weise, USA
      TODAY, 14 October 2010. (numerical coincidences) http://www.usa
      today.com/yourlife/parenting-family/babies/2010-10-14-Birt
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  30. California Assembly committee endorses UC Berkeley statistician’s
      election auditing method. Robert Sanders, Media Relations, UCBerke-
      leyNews, 26 April 2010. (Election auditing) http://www.berkeley.e
      du/news/media/releases/2010/04/26_canvass.shtml




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P.B. Stark: CV                     September 4, 2018                   99


  29. Ready or Not. Cosma Shalizi, American Scientist, March 2010.
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  28. Judge upholds November election of Novato Sanitary District board.
      Brent Ainsworth, The Marin Independent Journal, 8 March 2010.
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      416


  27. Novato Sanitary election fight rolls on. Jim Welte, The Marin
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      www.marinij.com/marinnews/ci_14456925


  26. Novato Sanitary board race tightens. Jim Welte, The Marin Indepen-
      dent Journal, 12 November 2009. (Contested election) http://www.m
      arinij.com/election/ci_13773039


  25. AIDS Vaccine Trial Shows Only Slight Protection. Donald G. McNeil
      Jr., New York Times, 21 October 2009. (epidemiology) http://www.n
      ytimes.com/2009/10/21/health/research/21vaccine.html?_r=1


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  23. KQED-FM Forum program on the Census, 6 March 2009. (live ap-
      pearance re census)

  22. Census, partisan wrangling go hand-in-hand. Tyche Hendricks, Scripps
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P.B. Stark: CV                    September 4, 2018                    100


  21. Why the census is always political. Tyche Hendricks, San Francisco
      Chronicle, 22 February 2009. (census) http://www.sfgate.com/cgi-
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      ewsweek.com/id/184802


  19. Measure B court challenge heads to San Francisco. Karen de Sá,
      Mercury News, 1 December 2008. (election integrity) http://www.me
      rcurynews.com/politics/ci_11113510


  18. New Election Audit Targets Close Races. Laura Snider, Daily Camera,
      26 November 2008. (risk-limiting audits, election integrity) http://w
      ww.dailycamera.com/news/2008/nov/26/new-election-audit-tar
      gets-close-races/


  17. Counting Continues for Elections Department. Redwood Times,
      19 November 2008. (risk-limiting audits, election integrity) http://w
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  16. Checking It Twice. Julie J. Rehmeyer, Science News, 19 January
      2008. (Election auditing) http://www.sciencenews.org/view/gene
      ric/id/9292/title/Math_Trek__Checking_It_Twice


  15. Reelz Channel Dailies “Is it Real?” Reelz Channel, 15 June 2007.
      (gambling odds, probability)


  14. Internet is 99 per cent porn free. Iain Thomson, vnunet.com,
      15 November 2006. (Internet content filtering) http://www.vnunet.c
      om/vnunet/news/2168636/internet-per-cent-porn-free




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P.B. Stark: CV                     September 4, 2018                     101


  13. Internet Content Filters Fail to Block Sexually Explicit Material.
      Thomas Claburn, Information Week, 14 November 2006. (Internet
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  12. 1 percent of Web sites deemed pornographic. Maryclaire Dale,
      Associated Press, 14 November 2006. (Internet content filtering) http
      ://www.msnbc.msn.com/id/15721799/


  11. Only 1 percent of Web pages have porn?         Declan McCullagh,
      News.com, 14 November 2006. (Internet content filtering) http://ww
      w.news.com/8301-10784_3-6135662-7.html


  10. U.S., Google Set to Face Off in Court. Michael Liedtke, Associated
      Press, 14 March 2006. (Internet content filtering) http://www.sfgat
      e.com/cgi-bin/article.cgi?file=/n/a/2006/03/13/financial/f
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   9. Google privacy issue enters court. Al Jazeera, 14 March 2006. (Internet
      content filtering) http://english.aljazeera.net/archive/2006/0
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   8. In Case About Google’s Secrets, Yours Are Safe. Adam Liptak, New
      York Times, 26 January 2006. (Internet content filtering) http://www
      .nytimes.com/2006/01/26/technology/in-case-about-googles-s
      ecrets-yours-are-safe.html


   7. Google Resists U.S. Subpoena of Search Data. Katie Hafner and Matt
      Richtel, New York Times, 20 January 2006. (Internet content filtering)
      http://www.nytimes.com/2006/01/20/technology/20google.html
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P.B. Stark: CV                     September 4, 2018                     102


   6. Feds take porn fight to Google. Declan McCullagh and Elinor Mills,
      CNET News, 19 January 2006. (Internet content filtering) https://w
      ww.cnet.com/news/feds-take-porn-fight-to-google/


   5. AFC NewSource story on airline security [Airings: The Osgood File
      (CBS Radio Network), 29 July 2003, 18 February 2003; KRON-TV
      (San Francisco), 3 February 2003]. (statistical auditing, security) htt
      p://www.acfnewsource.org/science/random_security.html


   4. The Fred Ebert Show program on probability and statistics. KIRO
      710, Seattle, WA, 27 October 2003. (live appearance re the Monty
      Hall problem, Statistics, Probability)


   3. ABC 7 News story on census adjustment, 30 November 1998. (recorded
      appearance re census)


   2. KQED-FM Forum program on the 2000 Census, San Francisco, CA,
      17 July 1998. (live appearance re census) http://www.kqed.org/rad
      io/programs/forum/


   1. How deep is an earthquake? Science News, 2 March 1985. (Deep
      earthquakes)




 Teaching and Advising
 Courses
     BerkeleyX 2.1x∗ https://www.edx.org/course/uc-berkeleyx/uc-b
     erkeleyx-stat2-1x-introduction-594, an Introductory Statistics
     MOOC (52,661 students enrolled in first offering; 15.5% completion
     rate. As of 21 October 2015, this was one of the 50 most popular
     MOOCs of all time)




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     BerkeleyX 2.2x∗ https://www.edx.org/course/uc-berkeleyx/uc-b
     erkeleyx-stat2-2x-introduction-685, an Introductory Statistics
     MOOC (20,871 students enrolled in first offering; 17% completion rate)

     BerkeleyX 2.3x∗ https://www.edx.org/course/uc-berkeleyx/uc-b
     erkeleyx-stat2-3x-introduction-825, an Introductory Statistics
     MOOC (22,443 students enrolled in first offering; 12% completion rate)

     Introduction to Statistics (Statistics 2)

     Introduction to Probability and Statistics (Statistics 20)

     Introductory Probability and Statistics for Business (Statistics 21,
     N21∗ , W21∗ )

     Introduction to Probability and Statistics for Scientists and Engineers
     (Statistics 25)

     Societal Risks and the Law∗ (Statistics C79)

     Freshman Seminar on Statistics (Statistics 39)

     Statistical Inferences for Social and Life Scientists (Statistics 131A)

     Concepts of Probability (Statistics 134)

     Concepts of Statistics (Statistics 135)

     Linear Modeling: Theory and Applications (Statistics 151A)

     Nonparametric Inference and Sensitivity Auditing with Applications to
     Social Good∗ (Statistics 157)

     Reproducible and Collaborative Statistical Data Science∗ (Statistics
     157, now 159/259). Video review: http://youtu.be/Bq71Pqdukeo

     Probability and Statistics for Physical Science and Engineering PhD
     Students∗

     Statistics for Engineering PhD students∗

     Introduction to Probability and Statistics at an Advanced Level (Statis-
     tics 200A)




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       Theoretical Statistics (Statistics 210B)
       Statistical Models: Theory and Applications (Statistics 215A, Statistics
       215B)
       Not enough Statistics for Journalists∗ (Journalism 219)
       Statistics Masters Program Capstone∗ (Statistics 222)
       Nonparametric and Robust Methods (Statistics 240)
       Topics in Probability and Statistics (Statistics 260)
       Statistical Consulting (Statistics 272)
   ∗
       Course I created or co-created.

 Former Graduate Students and Postdocs
       Imola K. Fodor, Roche
       Johann Gagnon-Bartsch, University of California, Berkeley
       Christopher R. Genovese, Carnegie Mellon University
       Niklaus W. Hengartner, Los Alamos National Laboratory
       Janne Huttunen, University of Auckland and University of Kuopio
       Bradley Luen, Indiana University
       Tian Luo, U.S. Bureau of Labor Statistics
       Dmitry I. Nikolayev, Schmidt Institute for Physics of the Earth
       R. Jay Pulliam, University of Texas at Austin
       Karthik Ram, University of California, Berkeley
       Jeffery Regier, University of California, Berkeley
       Chad M. Schafer, Carnegie Mellon University
       Daniel Turek, University of California, Berkeley
       Vincent S. Yates, Yammer




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 Graduate Committees
   1. Alameida, Jose, Mathematics. Ph.D. qualifying examination, 2008
   2. Atz, Milos, Nuclear Engineering. Ph.D. qualifying examination, 2018
   3. Bach, Andre, Physics. Ph.D. qualifying examination, 2011
   4. Bar-Yossef, Ziv, Computer Science. Ph.D. qualifying examination,
      2001; dissertation committee, “The Complexity of Massive Data Set
      Computations,” 2002
   5. Bein, Ed, Biostatistics. MA examination, 2002
   6. Berny, Axel Dominique, EECS. Ph.D. qualifying examination, 2004;
      dissertation committee, “Analysis and Design of Wideband LC VCOs,”
      2006
   7. Bertelli, E., IEOR. Ph.D. qualifying examination, 2018
   8. Bloniarz, Adam, Statistics. Ph.D. qualifying examination, 2014
   9. Bodik, Peter, Computer Science. Ph.D. qualifying examination, 2007;
      dissertation committee, “Automating Datacenter Operations Using
      Machine Learning,” 2010
  10. Bowman, John Penfield, IEOR. Ph.D. qualifying examination, 2003
  11. Bunn, Emory Freeman, Physics. Ph.D. qualifying examination, 1994;
      dissertation committee, “Statistical Analysis of Cosmic Microwave
      Background Anisotropy,” 1995
  12. Burleigh, Kaylan, Astronomy. Ph.D. qualifying examination, 2016,
      2017; dissertation committee, “A Monte Carlo Method for Identifying
      Imaging Systematics in Galaxy Surveys,” 2018
  13. Burstein, Richard David II, Mathematics. Ph.D. qualifying examina-
      tion, 2004; dissertation committee, “Hadamard Subfactors of Bisch-
      Haagerup Type,” 2008
  14. Buttrey, Samuel Edward, Statistics. Ph.D. qualifying examination,
      1994; dissertation committee, “Nearest-Neighbor Classification with
      Categorical Variables,” 1996




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  15. Calef, Brandoch Hugh, Applied Mathematics. Ph.D. qualifying ex-
      amination, 1997; dissertation committee, “Optimal Sampling of the
      Discrete Fourier Transform,” 2002

  16. Charman, Andrew Emile, Physics. Ph.D. qualifying examination, 2003;
      dissertation committee, “Random Aspects of Beam Physics and Laser-
      Plasma Interactions,” 2006

  17. Chen, Raymond Lei, EECS. Ph.D. qualifying examination, 1993; dis-
      sertation committee, “A Qualitative Modeling Framework of Semicon-
      ductor Manufacturing Processes: Self-Learning Fuzzy Inference System
      and the Statistical Analysis of Categorical Data,” 1994

  18. Chien, George, EECS. Ph.D. qualifying examination, 1998

  19. Fernandez, Arturo, Statistics. Ph.D. qualifying examination, 2017

  20. Feldman, Arnold R., EECS. Ph.D. qualifying examination, 1995; dis-
      sertation committee, “High-Speed, Low-Power Sigma-Delta Modula-
      tors for RF Baseband Channel Applications,” 1997

  21. Fodor, Imola K., Statistics. Ph.D. qualifying examination, 1997; chair,
      dissertation committee, “Spectrum Estimation in Helioseismology,”
      1999

  22. Fong, Keng Leong, EECS. Ph.D. qualifying examination, 1996; disser-
      tation committee, “Design and Optimization Techniques for Monolithic
      RF Downconversion Mixers,” 1997

  23. Gagnon-Bartsch, Johann, Statistics. Ph.D. qualifying examination,
      2009; co-chair, dissertation committee “Removing Unwanted Variation
      from Microarray Data with Negative Controls,” 2012

  24. Gawiser, Eric Joseph, Physics. Ph.D. qualifying examination, 1998

  25. Genovese, Christopher Ralph, Statistics. Ph.D. qualifying examina-
      tion, 1992; chair, dissertation committee, “Statistical Problems in He-
      lioseismology,” 1994

  26. Goldman, Megan, Biostatistics. Chair, Ph.D. qualifying examination,
      2009




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P.B. Stark: CV                     September 4, 2018                     107


  27. Gung, Yuan-Cheng, Geophysics. Dissertation committee, “Q Tomog-
      raphy of the Earth Mantle,” 2003

  28. Hansen, Bendek, Statistics. Chair, MA thesis committee, “Minimax
      Expected Length Confidence Intervals,” 2000

  29. Hansen, Mark Henry, Statistics. Chair, Ph.D. qualifying examination,
      1992

  30. Hengartner, Niklaus Walther, Statistics. Co-chair, dissertation com-
      mittee, “Topics in Density Estimation,” 1993

  31. Higgins, Mike, Statistics. Ph.D. qualifying examination, 2009, 2010

  32. Huang, Hsiang-Ping, Mathematics.       Ph.D. qualifying examination,
      1996

  33. Huang, Jianhua, Statistics. Ph.D. qualifying examination, 1994; dis-
      sertation committee, “Topics in Extended Linear Modeling,” 1997

  34. Huang, Yuanlin, Civil Engineering.     Ph.D. qualifying examination,
      1993, 1994

  35. Jiang, Xuesong, EECS. Ph.D. qualifying examination, 2001

  36. Jones, David Morgan, Mathematics. Ph.D. qualifying examination,
      1994; dissertation committee, “On Modular Galois Representations in
      Characteristic 3,” 1998

  37. Katsis, Dimitrios, EECS. Ph.D. qualifying examination, 2005

  38. Kiesling, Max Karl, Civil Engineering. Ph.D. qualifying examination,
      1994

  39. Kuusela, Mikael Johan, Statistics, École Polytechnique Fédérale de
      Lausanne, dissertation committee, “Uncertainty quantification in un-
      folding elementary particle spectra at the Large Hadron Collider,” 2016

  40. Li, Bo, Statistics. Ph.D. qualifying examination, 2004

  41. Li, Wenyu, Mechanical Engineering. Ph.D. qualifying examination,
      2017




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P.B. Stark: CV                     September 4, 2018                     108


  42. Loscutoff, Peter, Physics. Ph.D. qualifying examination, 2011; disser-
      tation committee,
                √        “Search for resonant W Z → ℓνℓℓ production using
      13f b?1 in s = 8T eV pp collisions with the ATLAS detector,” 2013

  43. Luen, Bradley, Statistics. Ph.D. qualifying examination, 2006; Chair,
      dissertation committee, “Earthquake Prediction: Simple Methods for
      Complex Phenomena,” 2010

  44. Luo, Tian, Statistics. MA thesis chair, “Nonparametric estimation of
      business survival with an application to restaurant startups,” 2014

  45. Madar, Vered, Statistics and Operations Research, Tel Aviv University.
      MA thesis committee, “Non-equivariant confidence intervals,” 2002;
      Ph.D. committee, “Simultaneous Confidence Intervals for Multiple Pa-
      rameters with More Power to Determine the Sign,” 2007

  46. Megnin, Charles Henri, Geophysics. Ph.D. qualifying examination,
      1996; dissertation committee, “The Shear Velocity Structure of the
      Mantle from the Inversion of Time-Domain Waveform Data,” 1999

  47. Mieler, Michael William, Civil Engineering. Ph.D. qualifying examina-
      tion, 2011

  48. Millman, Kenneth Jarrod, Biostatistics. MA thesis committee,
      “permute—a Python package for permutation tests and confidence
      sets,” 2015

  49. Miratrix, Luke W., Statistics. Chair, Ph.D. qualifying examination,
      2010

  50. Mohanty, Sudatta, Civil Engineering. Ph.D. qualifying examination,
      2017

  51. Murmann, Boris, EECS. Ph.D. qualifying examination, 2002; disserta-
      tion committee, “Digital Calibration for Low-Power High-Performance
      A/D Conversion,” 2003

  52. Oreluk, James, Mechanical Engineering. Ph.D. qualifying examination,
      2017

  53. Ottoboni, Kellie, Statistics. Ph.D. qualifying examination, 2017




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  54. Ou, Jeffrey Jiajiunn, EECS. Ph.D. qualifying examination, 1995

  55. Petkov, Vladimir Plamenov, EECS. Ph.D. qualifying examination,
      2003

  56. Poobuapheun, Nuntachai, EECS. Ph.D. qualifying examination, 2005;
      dissertation committee, “LNA and Mixer Designs for Multi-Band Re-
      ceiver Front-Ends,” 2009

  57. Puente, Suzette, Statistics. M.A. committee, 2013

  58. Pulliam, R. Jay, Geophysics. Ph.D. dissertation committee, “Imaging
      Earth’s Interior: Tomographic Inversion of Mantle P-Wave Velocity
      Structure,” 1991

  59. Qian, Kun, EECS. Ph.D. qualifying examination, 2009; dissertation
      committee, “Variability Modeling and Statistical Parameter Extraction
      for CMOS Devices,” 2015

  60. Regier, Jeffery, Statistics. Chair, M.A. committee, 2013; dissertation
      committee, “Topics in large-scale statistical inference,” 2016

  61. Rein, Steven Richard, Statistics. Chair, Ph.D. qualifying examination,
      1990

  62. Rossi, Jim, Journalism. M.A. thesis committee, “Reverse-engineering
      the Echo Chamber,” 2017

  63. Schafer, Chad Michael, Statistics. Ph.D. qualifying examination, 2001;
      chair, dissertation committee, “Constructing Confidence Regions of
      Optimal Expected Size: Theory and Application to Cosmic Microwave
      Inference,” 2004

  64. Son, Sang Won, EECS. Ph.D. qualifying examination, 2000; disserta-
      tion committee, “High Dynamic Range CMOS Mixer Design,” 2002

  65. Stern, Aaron James, Computational Biology. Ph.D. qualifying exami-
      nation, 2017.

  66. Suzuki, Toru, Demography. Ph.D. qualifying examination, 1995; dis-
      sertation committee, “Projection of Households in Japan with a Dy-
      namic Macro-Simulation Model,” 1999




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  67. Tee, Luns, EECS. Ph.D. qualifying examination, 2001

  68. Tenorio, Luis-Francisco, Mathematics. Ph.D. dissertation committee,
      “Asymptotic Dynamics of Locally Oblique Solitary Wave Solutions of
      the KP Equation,” 1992

  69. Thompson, Neil, Statistics. M.A. committee, 2012

  70. To, Albert Chi Fu, Statistics. M.A. committee, 2005

  71. Wagner, Tim Allen, CS. Ph.D. qualifying examination, 1995; disserta-
      tion committee, “Practical Algorithms for Incremental Software Devel-
      opment Environments,” 1997

  72. Wang, Jason, Astronomy. Ph.D. qualifying examination, 2017; disser-
      tation committee, “Footage of Other Worlds: Unveiling the Dynamical
      Architecture of Young Exoplanetary Systems,” 2018

  73. Wicks, Charles Wesley Jr., Geophysics. Ph.D. qualifying examination,
      1990; dissertation committee, “An Investigation of Mantle Discontinu-
      ities Beneath the Southwest Pacific,” 1994

  74. Wilhelm, Matthieu., Universit de Neuchtel, Statistics. Ph.D. disserta-
      tion committee, “Random sampling with repulsion,” 2017

  75. Yao, Shijing, EECS. Ph.D. qualifying examination, 2015

  76. Yates, Vincent, Statistics. Chair, M.A. committee, 2012

  77. Ying, Jun, Naval Architecture. D. Eng. qualifying examination, 1995;
      dissertation committee, “Development and Verification of Computer
      Simulation Models for Evaluation of Siting Strategies and Evacuation
      Procedures for Mobile Drilling Units in Hurricanes,” 1996

  78. Zhang, Xiaoyan, Statistics. Ph.D. qualifying examination, 1997

  79. Zagheni, Emilio, Demography. Ph.D. qualifying examination, 2008

  80. Zamora, Joel Barajas, UC Santa Cruz, EE. Ph.D. dissertation defense,
      2015; dissertation committee, “Online Display Advertising Causal At-
      tribution and Evaluation,” 2015




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      First-year PhD advising
  2014–15 Thanh-Nhan (Andrew) Do
  2014–15 Kellie Ottoboni
  2016–17 Jake Soloff

      Current PhD advisees
    2014– Kellie Ottoboni


      Undergraduate Research and Honors Thesis Advisees
     2018 William Ma
     2018 Jin Kweon
     2015 Fang Cai
     2015 Catherine Darin, U. Pennsylvania
     2014 He Ma
     2014 Rachel Redberg
     2014 Hriday Kemburu
2010–2011 Katherine McLaughlin
     2010 Aaron Taylor
     2010 Hua Yang
     2009 Joshua M. Levin
     2008 Jonathan Ong
     2007 Gerold Ng
2003–2004 Feng Tang
1993–1996 Dendy Harjanto
1988–1993 10 others




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 Service
 Professional Societies and Government Agencies
2018   – Advisory Board, U.S. Election Assistance Commission
       – Consultant, Colorado Secretary of State
       – Reviewer, National Academies of Sciences, Engineering, and
         Medicine, Policy and Global Affairs Division
       – Editorial Board, ScienceOpen
       – Chair for Auditability, IEEE/NIST Voting System Standards
         Committee (VSSC) Working Group For Voting Methods Math-
         ematical Models (C/VSSC/1622.X WG)
       – Program committee, 2018 Workshop on Advances in Secure Elec-
         tronic Voting Schemes (VOTING’18, held in conjunction with the
         2018 Conference on Financial Cryptography and Data Security,
         FC’18)
       – Referee, Geophysical Research Letters
       – Referee, Proceedings of the National Academy of Sciences

2017   – Advisory Board, U.S. Election Assistance Commission
       – Consultant, Colorado Secretary of State
       – Travis County Texas Elections Division STAR-Vote System Brain
         Trust
       – Founding Steering Committee and Editorial Board, USENIX
         Journal of Voting Technology
       – Editorial Board, ScienceOpen
       – Chair for Auditability, IEEE/NIST Voting System Standards
         Committee (VSSC) Working Group For Voting Methods Math-
         ematical Models (C/VSSC/1622.X WG)
       – Program committee, 2018 Workshop on Advances in Secure Elec-
         tronic Voting Schemes (VOTING’18, held in conjunction with the
         2018 Conference on Financial Cryptography and Data Security,
         FC’18)




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       – Program committee, 2017 Workshop on Advances in Secure Elec-
         tronic Voting Schemes (VOTING’17, held in conjunction with the
         2017 Conference on Financial Cryptography and Data Security,
         FC’17)
       – Chair, Mini-symposium on Open Data and Reproducibility, 2017
         International Scientific Computing with Python (SciPy) Confer-
         ence, Austin, TX.
       – Referee, Proceedings of the National Academy of Sciences

2016   – Advisory Board, U.S. Election Assistance Commission
       – Consultant, Colorado Secretary of State
       – Travis County Texas Elections Division STAR-Vote System Brain
         Trust
       – Founding Steering Committee and Editorial Board, USENIX
         Journal of Voting Technology
       – Associate editor, SIAM/ASA Journal of Uncertainty Quantifica-
         tion
       – Editorial Board, ScienceOpen
       – Chair for Auditability, IEEE/NIST Voting System Standards
         Committee (VSSC) Working Group For Voting Methods Math-
         ematical Models (C/VSSC/1622.X WG)
       – Program committee, 2016 Workshop on Advances in Secure Elec-
         tronic Voting Schemes (VOTING’16, held in conjunction with the
         2016 Conference on Financial Cryptography and Data Security,
         FC’16)
       – Program committee, 2017 Workshop on Advances in Secure Elec-
         tronic Voting Schemes (VOTING’17, held in conjunction with the
         2017 Conference on Financial Cryptography and Data Security,
         FC’17)
       – Program committee, 12th International Joint Conference on Elec-
         tronic Voting (E-Vote-ID 2016), Bregenz, Austria
       – Session co-organizer, “Productive Ecologies in the Anthropocene:
         Foraging Systems,” Sixth International Conference on Food Stud-
         ies, Berkeley, CA




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2015   – Consultant, Colorado Secretary of State
       – Travis County Texas Elections Division STAR-Vote System Brain
         Trust
       – Founding Steering Committee and Editorial Board, USENIX
         Journal of Voting Technology
       – Associate editor, SIAM/ASA Journal of Uncertainty Quantifica-
         tion
       – Editorial Board, ScienceOpen
       – Chair for Auditability, IEEE/NIST Voting System Standards
         Committee (VSSC) Working Group For Voting Methods Math-
         ematical Models (C/VSSC/1622.X WG)
       – Program committee, VoteID 2015: The 5th International Confer-
         ence on e-Voting and Identity, Bern, Switzerland. http://www.v
         oteid15.org/
       – Program committee, 2015 European Symposium on Research in
         Computer Security (ESORICS 2015), Vienna, Austria. http://e
         sorics2015.sba-research.org/
       – Program committee, 2016 Workshop on Advances in Secure Elec-
         tronic Voting Schemes (VOTING’16, held in conjunction with the
         2016 Conference on Financial Cryptography and Data Security,
         FC’16)
       – Session organizer, Teaching Computational Thinking and Prac-
         tice, 2015 SIAM Conference on Computational Science and Engi-
         neering (CSE15)
       – Organizer, Berkeley Institute for Data Sciences and Moore/Sloan
         Data Science Environments 2015 Conference on Reproducibility
       – Referee, PeerJ

2014   – Consultant, Colorado Secretary of State
       – Travis County Texas Elections Division STAR-Vote System Brain
         Trust
       – Founding Steering Committee and Editorial Board, USENIX
         Journal of Election Technology and Systems (JETS)




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       – Associate editor, SIAM/ASA Journal of Uncertainty Quantifica-
         tion
       – Editorial Board, ScienceOpen
       – Member, IEEE/NIST Voting System Standards Committee
         (VSSC) Working Group For Voting Methods Mathematical Mod-
         els (C/VSSC/1622.X WG)
       – Organizing committee co-chair, 2014 SIAM/ASA Conference on
         Uncertainty Quantification, Savannah, GA
       – Program committee, VoteID 2015: The 5th International Confer-
         ence on e-Voting and Identity, Bern, Switzerland. http://www.v
         oteid15.org/
       – Program committee, 2015 European Symposium on Research in
         Computer Security (ESORICS 2015), Vienna, Austria. http://e
         sorics2015.sba-research.org/
       – Session organizer, late-breaking session on Reproducibility, 2014
         Joint Statistical Meetings, Boston, MA
       – Session organizer and chair, 2014 Conference of the International
         Society for Nonparametric Statistics, Cadiz, Spain
       – Session organizer, Teaching Computational Thinking and Prac-
         tice, 2015 SIAM Conference on Computational Science and Engi-
         neering (CSE15)
       – Referee, PLoS One
2013   – Consultant, California Secretary of State
       – Consultant, Colorado Secretary of State
       – Consultant, U.S. Department of Justice, Civil Division
       – Travis County Texas Elections Division STAR-Vote System Brain
         Trust
       – Founding Steering Committee and Editorial Board, USENIX
         Journal of Election Technology and Systems (JETS)
       – Associate editor, SIAM/ASA Journal of Uncertainty Quantifica-
         tion
       – Organizing committee co-chair, 2014 SIAM/ASA Conference on
         Uncertainty Quantification, Savannah, GA




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P.B. Stark: CV                    September 4, 2018                     116


       – Session organizer, Conference of the International Society for Non-
         parametric Statistics, Cadiz, Spain

2012   – Consultant, California Secretary of State
       – Consultant, Colorado Secretary of State
       – Consultant, U.S. Department of Justice
       – Travis County Texas Elections Division STAR-Vote System Brain
         Trust
       – Founding Steering Committee, USENIX Journal of Election Tech-
         nology and Systems (JETS)
       – Reviewer, National Science Foundation
       – Program committee, 2012 Electronic Voting Technology / Work-
         shop on Transparent Elections (EVT/WOTE ’12), USENIX Se-
         curity Symposium, Bellevue, WA
       – Session organizer, 2012 Joint Statistical Meetings of the Ameri-
         can Statistical Association, International Biometric Society, and
         Institute of Mathematical Statistics, San Diego, CA
       – Session organizer, 1st Conference of the International Society for
         NonParametric Statistics, Chalkidiki, Greece
       – Organizing committee co-chair, 2014 SIAM/ASA Conference on
         Uncertainty Quantification, Savannah, GA
       – Program committee, 2012 SIAM/ASA/SAMSI/USACM Confer-
         ence on Uncertainty Quantification, Raleigh, NC
       – Session organizer, Election Verification Network (EVN) annual
         conference, Santa Fe, NM

2011   – Consultant and Expert Witness, U.S. Department of Justice, Civil
         Division (for U.S. Department of Housing and Urban Develop-
         ment)
       – Program committee, 2012 SIAM/ASA/SAMSI/USACM Confer-
         ence on Uncertainty Quantification, Raleigh, NC
       – Consultant, California Secretary of State
       – Consultant, Colorado Secretary of State




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P.B. Stark: CV                    September 4, 2018                   117


       – Session organizer, Election Verification Network (EVN) annual
         conference, Chicago, IL

2010   – Consultant and Expert Witness, U.S. Department of Justice, Civil
         Division (for Department of Housing and Urban Development)
       – Consultant, State of Illinois
       – Consultant, California Attorney General (for California Highway
         Patrol)
       – Consultant, New York State Senate
       – Reviewer, Department of Defense Strategic Environmental Re-
         search and Development Program
       – Session organizer, Election Verification Network (EVN) annual
         conference, Washington, DC

2009   – Consultant, California Secretary of State

2008   – Consultant, California Secretary of State

2007   – California Secretary of State Post-Election Audit Standards Work-
         ing Group
         http://www.sos.ca.gov/elections/elections_peas.htm

2006   – Consultant and Expert Witness, U.S. Department of Justice, Civil
         Division

2005   – Consultant, U.S. Department of Justice, Civil Division
       – Consultant, U.S. Department of Veterans Affairs Medical Center
       – Consultant, Habeas Corpus Resource Center

2004   – Reviewer, National Science Foundation
       – Consultant, U.S. Department of Justice, Civil Division
       – Consultant, U.S. Attorney’s Office
       – Consultant, U.S. Department of Veterans Affairs Medical Center

2003   – Reviewer, National Science Foundation
       – Referee, National Sciences and Engineering Research Council of
         Canada




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       P.B. Stark: CV                     September 4, 2018                      118


               – Consultant, U.S. Department of Veterans Affairs Medical Center
       2002    – Consultant, U.S. Department of Agriculture
               – Consultant, U.S. Department of Justice, Civil Division
       2001    – Consultant, U.S. Department of Justice, Civil Division
               – Co-organizer, Institute for Mathematics and Its Applications An-
                 nual Program Mathematics in the Geosciences and workshop on
                 Inverse Problems and the Quantification of Uncertainty
       2000    – Invited discussant, National Academy of Science Committee on
                 National Statistics workshop on dual-system estimation for the
                 2000 Census
               – Consultant, U.S. Department of Justice, Civil Division
       1998    – Witness, U.S. House of Representatives Subcommittee on the Cen-
                 sus.
               – Panelist, National Science Foundation
       1997    – Session organizer, International Statistical Institute and Bernoulli
                 Society Meeting, Istanbul, Turkey
1996–present   – Global Oscillation Network Group (GONG) Data Users Commit-
                 tee (Chair, 1996–1998)
               – Reviewer for United States Geological Survey
  1996–1999    – Consultant, National Security Agency
       1995    – Institute of Mathematical Statistics Program Chair, Joint Sta-
                 tistical Meetings of the American Statistical Association, Interna-
                 tional Biometric Society, and Institute of Mathematical Statistics,
                 Orlando, FL
  1994–1996    – Consultant to Federal Trade Commission
       1993    – Session organizer and chair, IMS/ASA/ENAR meeting, Philadel-
                 phia, PA
               – Session organizer and chair, Joint Statistical Meetings of the
                 American Statistical Association, International Biometric Society,
                 and Institute of Mathematical Statistics, San Francisco, CA




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       P.B. Stark: CV                     September 4, 2018                    119


       1992    – Faculty sponsor, Department of Energy TRAC program

  1990–1994    – Bernoulli Society Committee on Statistics in the Physical Sciences

1991–present   – Reviewer for National Aeronautics and Space Administration
                 (Space Physics Division)

       1991    – Local organizer and session chair, Mathematical Sciences Research
                 Institute Workshop on Statistical Methods in Imaging, Berkeley,
                 CA

       1989    – Session organizer and chair, Bernoulli Society Satellite Meeting,
                 Leuven, Belgium

1989–present   – Reviewer for National Science Foundation (Atmospheric Sciences;
                 Infrastructure; International Programs; Mathematical Sciences;
                 Methodology, Measurement, and Statistics; Solar-Terrestrial Pro-
                 gram; Statistics and Probability)


        Foundations, Non-Profit Corporations, and Industry
2013–present   – Board of Directors, Verified Voting Foundation

  2011–2013    – Board of Advisors, Verified Voting Foundation

  2010–2011    – Technical Advisory Board, Clear Ballot Group

       2007    – Advisory Board, Facebar, Inc.

  2000–2001    – Technical Advisory Board, Cogit.com

  2000–2002    – National Advisory Board, eTextbooksOnline.com
               – Technical Advisory Board, Atomic Dog Publishing




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       P.B. Stark: CV                       September 4, 2018                   120


        Editorial and Referee Service
          Editorial Service

2014–present     – Faculty Review Board, Berkeley Scientific Journal

2013–present     – Editorial Board, ScienceOpen

2013–present     – Associate Editor, SIAM/ASA Journal on Uncertainty Quantifica-
                   tion

2012–present     – Founding Steering Committee and Editorial Board, USENIX
                   Journal of Election Technology and Systems (JETS)

2011–present     – Editor, Frontiers in Statistics and Probability (Springer)

       2008      – Guest Editor, Inverse Problems

  1998–1999      – Editor, Statistical Science

  1997–2000      – Editorial Board, Inverse Problems

  1994–1998      – Associate Editor, Journal of Geophysical Research

               Referee Service

          1. American Association for the Advancement of Science

          2. American Mathematical Monthly

          3. Annales Geophysicae

          4. Annals of the Institute of Statistical Mathematics

          5. Annals of Statistics

          6. Arabian Journal for Science and Engineering

          7. Astrophysical Journal

          8. Bulletin of the Seismological Society of America

          9. Cambridge University Press




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  10. Chapman-Hall

  11. Computational Statistics and Data Analysis

  12. Electronic Journal of Statistics

  13. Geophysical Journal International

  14. Geophysical Research Letters

  15. Geophysics

  16. Geophysical & Astrophysical Fluid Dynamics

  17. HarperCollins

  18. IEEE Journal on Acoustics, Speech and Signal Processing

  19. IEEE Journal on Information Theory

  20. Inverse Problems

  21. Inverse Problems and Imaging

  22. Journal of the American Statistical Association

  23. Journal of Computational Physics

  24. Journal of Economic Literature

  25. Journal of Geophysical Research

  26. Jurimetrics

  27. Nature

  28. Nature Climate Change

  29. PeerJ

  30. Political Analysis

  31. Physics of the Earth and Planetary Interiors

  32. PLoS One




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      33. Proceedings of the National Academy of Sciences

      34. Science

      35. SIAM Review

      36. Simon and Schuster

      37. Springer-Verlag

      38. Statistics, Politics, and Policy

      39. Statistical Science

      40. Tectonophysics


     University Service
2018–2019    – Associate Dean, Division of Mathematical and Physical Sciences
             – Advisory Board, Berkeley Institute for Data Science (BIDS)
             – Scientific Advisory Board, European Union H2020 Project Moving
               Towards Adaptive Governance in Complexity: Informing Nexus
               Security (MAGIC), Universitat Autònoma de Barcelona (Spain)
               and University of Bergen (Norway)
             – Faculty Advisory Committee, Berkeley Resource Center for Online
               Education (BRCOE)
             – Faculty Athletic Fellow
             – Program Advisory Committee, Doctor of Business Administration
               Program, Lincoln University
             – Member, Berkeley Science Network http://bsn.berkeley.edu
             – Schmidt Science Fellows Program review committee

2017–2018    – Associate Dean, Division of Mathematical and Physical Sciences
             – Chancellor’s Strategic Planning Committee on Enrollment
               Growth
             – Interdepartmental Committee on the Formation of the Division of
               Data Sciences




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            – Director, Statistical Computing Facility
            – Ad hoc Data Sciences Divisional committee on undergraduate de-
              gree programs
            – Advisory Board, Berkeley Institute for Data Science (BIDS)
            – Academic Program Review Committee, Academic Senate repre-
              sentative, Department of Agricultural and Resource Economics
            – Scientific Advisory Board, European Union H2020 Project Moving
              Towards Adaptive Governance in Complexity: Informing Nexus
              Security (MAGIC), Universitat Autònoma de Barcelona (Spain)
              and University of Bergen (Norway)
            – Faculty Advisory Committee, Berkeley Resource Center for Online
              Education (BRCOE)
            – Faculty Advisory Committee, Athletic Study Center
            – Faculty Athletic Fellow
            – Program Advisory Committee, Doctor of Business Administration
              Program, Lincoln University
            – Member, Berkeley Science Network http://bsn.berkeley.edu

2016–2017   – Associate Dean, Division of Mathematical and Physical Sciences
            – Director, Statistical Computing Facility
            – Advisory Board, Berkeley Institute for Data Science (BIDS)
            – Scientific Advisory Board, European Union H2020 Project Moving
              Towards Adaptive Governance in Complexity: Informing Nexus
              Security (MAGIC), Universitat Autònoma de Barcelona (Spain)
              and University of Bergen (Norway)
            – Faculty Advisory Committee, Berkeley Resource Center for Online
              Education (BRCOE)
            – Faculty Advisory Committee, Athletic Study Center
            – Faculty Athletic Fellow
            – Program Advisory Committee, Doctor of Business Administration
              Program, Lincoln University
            – Member, Berkeley Science Network http://bsn.berkeley.edu




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    P.B. Stark: CV                      September 4, 2018                124


2015–2016   – Associate Dean, Division of Mathematical and Physical Sciences
            – Faculty Advisory Committee, Berkeley Resource Center for Online
              Education (BRCOE)
            – Faculty Advisory Committee, Athletic Study Center
            – Faculty Athletic Fellow
            – Program Advisory Committee, Doctor of Business Administration
              Program, Lincoln University
            – Member, Berkeley Science Network http://bsn.berkeley.edu

2014–2015   – Chair, Department of Statistics
            – Director, Statistical Computing Facility
            – Faculty Advisory Committee, Berkeley Resource Center for Online
              Education (BRCOE)
            – Campus Working Group on Course Curriculum and Design
            – Faculty Advisory Committee, Athletic Study Center
            – Engineering Science Advisory Committee, College of Engineering
            – Faculty Athletic Fellow
            – Program Advisory Committee, Doctor of Business Administration
              Program, Lincoln University
            – Member, Berkeley Science Network http://bsn.berkeley.edu

2013–2014   – Chair, Department of Statistics
            – Director, Statistical Computing Facility
            – Commission on the Future of the UC Berkeley Library http://a
              cademic-senate.berkeley.edu/issues/commission-future-
              uc-berkeley-library
              Charge: http://evcp.berkeley.edu/sites/default/files/L
              ibrary%20Commission%2009.21.2012.pdf
              Final Report: http://evcp.berkeley.edu/news/commission-f
              uture-uc-berkeley-library-report
            – Faculty Advisory Committee, Berkeley Resource Center for Online
              Education (BRCOE)
            – Campus Working Group on Course Curriculum and Design




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    P.B. Stark: CV                      September 4, 2018                 125


            – Faculty Advisory Committee, Athletic Study Center
            – Engineering Science Advisory Committee, College of Engineering
            – Search Committee, Director of IT for College of Letters and Sci-
              ences
            – Faculty Athletic Fellow
            – Program Advisory Committee, Doctor of Business Administration
              Program, Lincoln University
            – External Review Committee, Department of Applied Mathematics
              and Statistics, Colorado School of Mines
            – Member, Berkeley Science Network http://bsn.berkeley.edu

2012–2013   – Chair, Department of Statistics
            – Director, Statistical Computing Facility
            – Commission on the Future of the UC Berkeley Library
            – Faculty Advisory Committee, Berkeley Resource Center for Online
              Education (BRCOE)
            – Engineering Science Advisory Committee, College of Engineering
            – Faculty Athletic Fellow
            – Program Advisory Committee, Doctor of Business Administration
              Program, Lincoln University
            – Member, Berkeley Science Network http://bsn.berkeley.edu

2011–2012   – Acting Department Chair, Department of Statistics, July–August
            – Vice Chair, Department of Statistics
            – Academic Senate Alternate Representative to University of Cali-
              fornia Systemwide Assembly
            – Academic Senate Committee on Academic Planning and Resource
              Allocation (CAPRA)
            – Campus Committee on Classroom Policy and Management (CC-
              CPM)
            – Business Resumption Coordination Group (BRCG)
            – Faculty Athletic Fellow




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    P.B. Stark: CV                      September 4, 2018              126


            – Program Advisory Committee, Doctor of Business Administration
              Program, Lincoln University

2010–2011   – Academic Senate Committee on Academic Planning and Resource
              Allocation (CAPRA)
            – Campus Committee on Classroom Policy and Management (CC-
              CPM)
            – Course Note-Taking Taskforce (http://campuspol.chance.berk
              eley.edu/policies/coursenotes.pdf)
            – Ad hoc tenure/promotion committee
            – Faculty Athletic Fellow
            – Program Advisory Committee, Doctor of Business Administration
              Program, Lincoln University

2009–2010   – Academic Senate Committee on Computing and Communications
              (COMP)
            – Faculty Athletic Fellow

2008–2009   – Faculty Athletic Fellow

2007–2008   – Undergraduate Student Learning Initiative Faculty Advisory
              Committee
            – Faculty Athletic Fellow

2006–2007   – Faculty Athletic Fellow

2005–2006   – Faculty Athletic Fellow

2004–2005   – Chair, Educational Technology Committee
            – e-Berkeley Steering Committee
            – e-Berkeley Committee of Chairs
            – e-Berkeley Implementation Task Force
            – CourseWeb Steering Committee
            – Faculty Athletic Fellow

2003–2004   – Chair, Educational Technology Committee




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            – e-Berkeley Steering Committee
            – e-Berkeley Implementation Task Force
            – Student Systems Policy Committee
            – CourseWeb Steering Committee

2002–2003   – Faculty Assistant in Educational Technology (to Vice Provost for
              Undergraduate Education)
            – Chair, Educational Technology Committee
            – Provost’s Academic Council
            – e-Berkeley Steering Committee
            – e-Berkeley Implementation Task Force
            – Campus Committee on Classroom Policy and Management (CC-
              CPM)
            – Student Systems Policy Committee
            – e-Berkeley Symposium Program Committee
            – Faculty Search Committee, Graduate School of Education
            – CourseWeb Steering Committee

2001–2002   – Faculty Assistant in Educational Technology (to Vice Provost for
              Undergraduate Education)
            – Chair, Educational Technology Committee
            – Provost’s Academic Council
            – e-Berkeley Steering Committee
            – e-Berkeley Implementation Task Force
            – Campus Committee on Classroom Policy and Management (CC-
              CPM)
            – Academic Senate Committee on Academic Planning and Resource
              Allocation (CAPRA)
            – CITRIS II Program Committee
            – TeleBEARS and BearFacts Committees (combined into Student
              Systems Policy Committee as of 3/2002)
            – e-Berkeley Portal Working Group




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            – Faculty search committee, Graduate School of Education

2000–2001   – Space Allocation and Capital Improvements (SACI)
            – Academic Senate Committee on Academic Planning and Resource
              Allocation (CAPRA)
            – CAPRA Subcommittee on Expanded Enrollment
            – CAPRA Subcommittee on changes to Academic Coordinator title
            – Ad hoc hiring/tenure committee

1999–2000   – Space Allocation and Capital Improvements (SACI)
            – Academic Senate Library Committee (LIBR)
            – Academic Senate Committee on Academic Planning and Resource
              Allocation (CAPRA), Physical Planning Subcommittee, ex officio
              representative from Library Committee
            – Academic Effects Study Committee, Molecular Engineering Build-
              ing
            – Ad hoc tenure/promotion committee
            – SACI subcommittee to audit space in Barrows Hall

1998–1999   – Space Allocation and Capital Improvements (SACI)
            – Electronic Dissertations Project
            – Planning Space for the Physical Sciences Libraries

1997–1998   – Ad hoc tenure/promotion committee

    1996    – Review of College of Science, King Fahd University of Petroleum
              and Minerals, Dhahran, Saudi Arabia

1994–1999   – University review committee for Department of Agricultural and
              Resource Economics, University of California, Berkeley

1993–1995   – Physical Sciences Division committee for Graduate Affirmative
              Action and Retention
            – Physical Sciences Division committee for Science and Mathemat-
              ics Academic Re-Training (SMART)




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 Contracts and Grants
   1. PI, NASA Grant NAG 5-883, “Constructing Core Fields Consistent
      with Geomagnetic Data and Geophysical Constraints,” 1987–1990.

   2. Project Director and PI, NSF Grant DMS-8810192, “Inference in
      Curved-Ray Tomography: Solid Earth Structure,” 1989–1992.

   3. PI, NSF Grant INT-9205103, “Long and Medium-Term Research: In-
      ference in Seismological Investigations of Subducting Lithosphere,”
      1992–1994.

   4. PI, NSF Grant DMS-930006P, “Estimating the Sun’s Internal Angular
      Velocity from Free-Oscillation Frequency Splittings,” 1993–1994.

   5. PI, NSF Presidential Young Investigator Award DMS-8957573, 1989–
      1995.

   6. Co-I, NASA Grant NAG5-2438, “The Analysis of Cobe DMR Sky
      Maps,” 1993–1994. PI: J. Silk

   7. PI, NASA Grant NAGW-2515, “New Methods for Inversion and Anal-
      ysis of Solar Free-Oscillation Data,” 1991–1995.

   8. PI, NSF Grant DMS-9404276, “New Methods for Inference From
      COBE Data,” 1994–1997.

   9. PI, NSF Grant AST-9504410, “Function Estimation and Inference in
      Helioseismology,” 1995–1998.

  10. PI, LLNL/IGPP Grant 97-AP028, “Helioseismology with Solar Lumi-
      nosity Constraints,” 1996–1997.

  11. Co-I, NASA Grant NAG5-3941, “Development of data analysis, com-
      pression and visualization tools for large data sets in astrophysics and
      cosmology,” 1997–1998. PI: J. Silk

  12. PI, NASA Grant NRA-96-09-OSS-034SOHO, “Modern Statistical
      Methods for Helioseismic Spectrum Estimation,” 1997–1998.

  13. PI, NASA Grant NAG 5-3919, “Data Sampling Rate Reduction for the
      Oersted Satellite,” 1997–1998.




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  14. PI, UC Berkeley Classroom Technologies Grant, “Statistics Statim,”
      1997–1998.
  15. Co-I, NSF Grant DMS-9872979,”KDI: Computational Challenges in
      Cosmology,” 1998–2000. PI: A. Jaffe.
  16. Co-I, NSF Grant IIS-98-17353, “Re-Inventing Scholarly Information
      Dissemination and Use,” 4/1/1999–3/31/2004. PI: R. Wilensky and
      D. Forsythe.
  17. PI, Hewlett Packard Company Grant 89293, “Applied Mobile Technol-
      ogy Solutions in Learning Environments,” 3/19/2003–8/31/2004. Sta-
      tus report:
      https://www.stat.berkeley.edu/~ stark/Grants/hp89293.htm
  18. PI, Hewlett Packard Company Grant 14928, “Applied Mobile Tech-
      nology Solutions in Learning Environments—2004 Extension Grant,”
      4/1/2004–6/30/2005.
  19. PI, LLNL Grant B565605, “Uncertainty in Complex Simulations,”
      4/3/2007–9/30/2007.
  20. PI, LLNL Grant B585264, “Uncertainty Quantification with Applica-
      tions to Climate Modeling,” 11/3/2009–9/30/2010.
  21. PI, Genentech Inc. Grant 008485, “Measuring Glucose with NIR,”
      2/24/2010–10/31/2010.
  22. Co-I, NSF Grant DUE-1060487, “S-STEM Berkeley Science Network
      Scholarship Program,” 3/1/2011–2/28/2015. PI: M. Richards.
  23. PI, State of Colorado U.S. Election Assistance Commission subaward
      UC01, 2010 Pre-Election Logic and Accuracy Testing and Post-Election
      Audit Initiative, 5/23/2011–4/23/2013.
  24. PI, State of California Election Assistance Commission sub-
      award 10I10066, Post Election Risk-Limiting Audit Pilot Program,
      9/13/2011–4/23/2013.
  25. PI, Bill and Melinda Gates Foundation Grant OPP1077697, “An In-
      troductory Statistics MOOC With Field-Tested Online Assessments,”
      12/20/2012–7/31/2013.




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  26. Co-I, UC Berkeley MOOCLab Grant, “Forum Usage in Statistics
      MOOCs: Disentangling Correlation from Causation,” 10/2013–8/2014.
      PI: M. Hearst.

  27. Co-I, Berkeley Institute for Data Science, grant from the Gordon and
      Betty Moore Foundation and the Sloan Foundation. 12/2013–12/2018.
      PI: S. Perlmutter.

  28. PI, UC Berkeley Food Institute Grant, “Reaping without Sowing: Ur-
      ban Foraging, Sustainability, Nutrition, and Social Welfare,” 2/2014–
      8/2015.

  29. Co-I, NSF, DGE–1450053, “NRT-DESE Data Science for the 21st Cen-
      tury (DS421),” 2015–2020. PI: D. Ackerley.

  30. PI, UC Berkeley Food Institute Grant, “Wild Food: Investigating and
      Reducing Barriers to the Consumption of Foraged Foods,” 5/2015–
      12/2015.

  31. PI, State Street Bank and Trust Company Grant, “Industry Partners
      Program: Consortium for Data Analytics in Risk (CDAR); and Berke-
      ley Institute for Data Science (BIDS) at UC Berkeley,” 2/2015–6/2018.

  32. PI, Dascena subaward from NIH, “SBIR: A Computational Approach
      to Early Sepsis Detection,” 4/2017–6/2017.

  33. PI, Peder Sather Grant, “Mainstreaming Sensitivity Analysis and Un-
      certainty Auditing,” 7/2017–6/2018.

  34. Co-I, NSF Grant DMS–1745640, “(RTG): Advancing Machine
      Learning–Causality and Interpretability,” 2018–2023.


 Consulting and Expert Witness Experience
      Baker & McKenzie LLP, New York, NY: sampling and uncertainty
      quantification (client Nuclear Electric Insurance Limited, NEIL)

      Bartlit Beck Herman Palenchar & Scott LLP, Denver, CO: intellectual
      property litigation (client Tessera)




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     Bingham McCutchen LLP, Los Angeles, CA: sampling in litigation

     Bramson, Plutzik, Mahler & Birkhaeuser LLP, Walnut Creek, CA: con-
     sumer class action litigation

     Brinks, Hofer, Gilson & Lione, Chicago, IL: intellectual property liti-
     gation (clients R.J. Reynolds, Actavis)

     Calfee, Halter & Griswold LLP, Cleveland, OH: tort litigation (client
     FirstEnergy Corp)

     California-American Water Company: utilities regulation, census and
     survey data

     Capital One: economic modeling and credit risk management; intellec-
     tual property litigation; credit loss forecasting

     Carey and Carey, Palo Alto, CA: equal protection, civil litigation

     CIBC: economic modeling and credit risk management

     Cisco Systems: predicting email spool fill

     City of Santa Rosa, CA: water treatment monitoring

     Cogit.com, San Francisco, CA: Technical advisory board; data mining,
     targeted web advertising

     Constantine, Cannon, San Francisco, CA, and New York, NY: Qui Tam
     litigation

     Contra Costa County Public Defender, Richmond, CA: equal protec-
     tion, due process, medical treatment for defendants found incompetent
     to stand trial

     Council of Europe, Venice Commission, Venice, Italy: election integrity,
     electoral fraud

     Crosby, Heafey, Roach, & May, Oakland, CA: insurance litigation
     (client Farmer’s Insurance)

     Croskery Law Offices, Cincinnati, OH: employment discrimination lit-
     igation




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     East Bay Municipal Utilities District, Oakland, CA: water treatment
     monitoring
     EEG Systems Laboratory, San Francisco, CA: inverse problems for
     electrical activity of the brain
     Emery Celli Brinckerhoff & Abady LLP, Washington, DC: election re-
     counts (client Jill Stein)
     eTextbooksOnline.com, New York, NY: National Advisory board
     Farella Braun + Martel LLP, San Francisco, CA: sampling and estima-
     tion in litigation
     Federal Trade Commission, San Francisco, CA: sampling in litigation
     Florida Education Association, Tallahassee, FL: teaching evaluations
     in academic employment decisions
     Folger, Levin & Kahn, LLP, San Francisco, CA: sampling and risk man-
     agement in litigation (client California Self-Insurers’ Security Fund)
     Fried, Frank, Harris, Shriver & Jacobsen LLP, New York, NY: sampling
     and estimation in securities litigation (clients Citigroup Global Markets
     Inc.; Goldman, Sachs & Co.; UBS Securities LLC)
     Fuller-Austin Joint Defense Group: modeling in litigation
     Georgia Department of Law, Atlanta, GA: lottery winnings (client
     Georgia Lottery Corporation)
     Gibson, Dunn & Crutcher, New York, NY: sampling and estimation in
     litigation (client AIG / Lavastone Capital)
     GMAC Financial Services: economic modeling and credit risk manage-
     ment
     Habeas Corpus Resource Center, San Francisco, CA: bias in jury selec-
     tion
     Howard, Rice, Nemerovski, Canady, Falk, & Rabkin, San Francisco,
     CA: sampling in litigation; inference from retail sales data (clients K-
     Mart Corp., R.J. Reynolds)




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     Howrey LLP, East Palo Alto, CA: sampling in litigation (client Apple
     Inc.)

     HSBC: economic modeling and credit risk management

     Jones Day, Columbus, OH: sampling and estimation in litigation (client
     Cardinal Health)

     Kaiser Permanente Northern California, Redwood City, CA: clinical
     trials in oncology

     Kelley Jasons McGuire & Spinelli, LLP: insurance litigation (client St.
     Paul Fire & Marine Insurance Company)

     Keller Grover LLP, San Francisco, CA: Qui Tam litigation

     Kemnitzer, Barron & Krieg, LLP, San Francisco, CA: sampling in con-
     sumer class action litigation

     Kipling Law Group, Seattle, WA: sampling in litigation (client AT&T
     Wireless)

     KLA Instruments Corporation, San Jose, CA: calibration of algorithms
     to detect IC mask flaws

     Kramer, Levin, Naftalis, & Frankel, New York, NY: sampling in litiga-
     tion

     Latham & Watkins, LLP, Menlo Park, CA, and San Francisco, CA:
     sampling in consumer class action litigation (clients Apple Inc., Silver
     Spring Networks)

     Law Offices of Gorman & Miller, San Jose, CA: trade secret litigation

     Law Offices of Ilson W. New, San Francisco, CA: natural resource leg-
     islation (client California Abalone Association)

     Law Offices of Ramirez, Tollner, Stebbins, Bahrick, & Sasseen, San
     Jose, CA: trade secret litigation

     Law Offices of Welebir & McCune, Woodside, CA: product liability
     litigation




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     Law Offices of Wells, Pinckney & McHugh, Austin, TX: employment
     discrimination arbitration

     Law Offices of Wolkin & Timpane, San Francisco, CA: insurance liti-
     gation (client CIGNA)

     Law Offices of Scott K. Zimmerman, Brentwood, CA: product liability
     litigation

     Life Chiropractic College West, Hayward, CA: experimental design

     Littler Mendelson, P.C., Dallas, TX, Los Angeles, CA, and San Fran-
     cisco, CA: sampling in employment wage and hour class action litiga-
     tion

     Los Angeles Superior Court, Central District: sampling in employment
     wage and hour litigation

     Manatt, Phelps & Phillips LLP, San Francisco, CA: utilities regulation
     (client California-American Water Company)

     Mayer, Brown, Rowe & Maw, Chicago, IL: intellectual property litiga-
     tion (client Capital One)

     Mayer Brown LLP, New York, NY: mortgage backed securities litiga-
     tion (clients Bank of New York Mellon, Citibank N.A.)

     Memorial University Faculty Association (MUNFA), St. Johns, NL,
     Canada: teaching evaluations in academic employment decisions

     Meyers Nave, Oakland, CA: election dispute litigation (client Novato
     Sanitary District)

     Monaghan Safar Ducham PLLC, Burlington, VT: employment discrim-
     ination

     Morgan, Lewis & Bockius LLP, Los Angeles, CA: sampling in litigation

     Morrison & Foerster, San Francisco, CA: product liability class action
     litigation, causal inference in litigation (clients American Cemwood,
     Iovate Health Sciences)




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     Munger, Tolles & Olson, LLP, San Francisco, CA and Los Angeles,
     CA: consumer class action litigation, intellectual property litigation,
     sampling (clients Verizon Wireless, Philip Morris, Tessera)

     Murphy & McGonigle, Washington, DC: risk management and credit
     loss forecasting (client Capital One)

     National Security Agency: adaptive filtering, combining expert opin-
     ions, digital communications, information retrieval, estimation

     National Solar Observatory, Tucson, AZ: spectrum estimation

     Albert A. Natoli, P.C., New York, NY: surveys in consumer class action
     litigation

     Nichols Kaster PLLP, Minneapolis, MN: sampling and damage estima-
     tion in consumer class action litigation

     Norton Rose Fulbright US LLP, Houston, TX: construction defect liti-
     gation (client M.J. Dean Construction, Inc.)

     Nossaman LLP, San Francisco, CA: utilities regulation (client
     California-American Water Company)

     Office of the Attorney General, State of California, Oakland, CA: sam-
     pling in litigation (client California Highway Patrol)

     Ontario Confederation of University Faculty Associations (OCUFA)
     and Ryerson Faculty Association, Toronto, ON: teaching evaluations
     in academic employment decisions

     Oracle: sampling and risk analysis

     Orrick, Herrington & Sutcliffe LLP, Los Angeles and Sacramento, CA:
     sampling in litigation

     Pacific Gas & Electric Co., San Francisco, CA: statistics and causal
     inference in litigation

     Paul, Hastings, Janofsky & Walker LLP, Washington, DC: intellectual
     property litigation (client Capital One)




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     Phillips & Cohen LLP, San Francisco, CA: statistical inference in Qui
     Tam litigation

     Porter & Hedges, LLP, Houston, TX: sampling in litigation

     Schlumberger-Doll Research, Ridgefield, CT: inverse problems, signal
     processing

     Robins Kaplan LLP: Qui Tam litigation

     Shearman & Sterling, Washington, DC: survival analysis in litigation

     Skadden, Arps, Slate, Meagher & Flom LLP, San Francisco, CA: case-
     control studies in litigation

     Spector Roseman Kodroff & Willis, P.C., Philadelphia, PA: Qui Tam
     litigation

     Spriggs & Hollingsworth, Washington, DC: environmental litigation

     State of Illinois, Monroe County State’s Attorney, Waterloo, IL: evi-
     dence in capital prosecution

     St. Paul Fire and Marine Insurance Company, Baltimore, MD: project-
     ing tort liability

     Susman Godfrey, LLP, Los Angeles, CA

     Travis County, TX: design of auditable voting systems

     United Faculty of Florida, Tallahassee, FL: teaching evaluations in aca-
     demic employment decisions

     U.S. Attorney’s Office, Northern District of California: ethnic bias in
     grand jury selection

     U.S. Department of Agriculture, Washington, D.C.: fairness in lending,
     import restrictions and risk assessment

     U.S. Department of Commerce, Bureau of the Census, Washington,
     D.C.: estimation and modeling




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     U.S. Department of Housing and Urban Development, Washington,
     D.C.: disparate impact of hurricane Katrina relief program

     U.S. Department of Justice, Civil Division, Federal Programs Branch,
     Washington, D.C.: sampling the Internet and testing Internet content
     filters; USDA import restrictions on cattle and beef; disparate racial
     impact in HUD disaster relief; fairness in lending; prevalence of “sex-
     ting” among young adults

     U.S. Department of Veterans Affairs Medical Center, Martinez, CA:
     speech and non-speech hearing segregation in aging

     U.S. House of Representatives, Washington, D.C.: sampling to adjust
     the U.S. Census

     Weintraub Genshlea Chediak Law Corporation, Sacramento, CA: wage
     and hour class action litigation (client Tai Wah, Inc.)

     Wiegel Law Group, San Francisco, CA: sampling in class action litiga-
     tion (client Trinity Management Services)

     Willoughby, Stuart & Bening, San Jose, CA: insurance litigation

     Winston & Strawn LLP, Chicago, IL: consumer class action litigation

     Zimmerman Reed, Scottsdale, AZ: consumer class action litigation


 Testimony (incomplete prior to 2003)
  45. August 2018. Delores James vs. University of Florida (Grievances
      # 0817-00108 and 1117-00109) Arbitration.


  44. July 2018. Testimony to the State of California Little Hoover
      Commission. Video: http://www.lhc.ca.gov/report/voting-equi
      pment-security. Written testimony : https://www.stat.berkeley
      .edu/~stark/Preprints/lhs18.pdf




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  43. July 2018. United States of America ex rel., Stephen A. Krahling
      and Joan A. Wlochowski, vs. Merck & Co., Inc. (U.S. District Court,
      Eastern District of Pennsylvania, Case 10-4374 (CDJ)) and In Re:
      Merck Mumps Vaccine Antitrust Litigation (Master File No. 12-3555
      (CDJ)) Deposition.


  42. April 2018. Ryerson University vs. The Ryerson Faculty Association
      re FCS & Related Issues (2018 CanLII 58446) Arbitration.


  41. August 2017. Application of California-American Water Company
      (U210W) for Authorization to Modify Conservation and Rationing
      Rules, Rate Design, and Other Related Issues for the Monterey District
      (Public Utility Commission of the State of California, Application
      15-07-019) Hearing.


  40. July 2017. United States, the States of California, Delaware, Florida,
      Illinois, Indiana, Nevada, New Mexico, New York, and Tennessee, the
      Commonwealths Of Massachusetts and Virginia, and The District Of
      Columbia Ex Rel. John Hendrix, Plaintiffs, vs. J-M Manufacturing
      Company, Inc., d/b/a JM Eagle, a Delaware corporation, and Formosa
      Plastics Corporation, U.S.A., a Delaware corporation (U.S. District
      Court, Central District of California, Case ED CV 06-00055-GW)
      Deposition.


  39. March 2017. The People of the State of California vs. Keegan Lee
      Czirban, Richard Allen, Filoberto Pablo Alvidrez, Jaqwayne Bryant,
      Dale Gabriel Burnell, Juan Pablo Cardona aka Juan Luna-Cardona,
      Miguel Colina, Emmanuel Cordova, Ramon Duenas, Connie Renee
      Fields, Anisa Sakari Fortenberry, Louie Frank Gamboa, Cynthia
      Marie Harrell, Briana Hawkins, Jeremiah James Johnson, Kieth
      Carl Knutson, Mark Alex Mallory, Brian McMahon, David Moore,
      Marquise Lamar Owens, Mitkayem Dean Robinson, Patrice Sanders,
      and Seth Rui Sears. (Superior Court of the State of California, County
      of Contra Costa, 05-151662-4 and associated cases) Trial.




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  38. March 2017. Kelly Brunarski and Yvette Harmon vs. Miami
      University. (U.S. District Court, Southern District of Ohio, Western
      Division, 1:16-cv-0311) Deposition.


  37. January 2017. The Western and Southern Life Insurance Company,
      et al. vs. The Bank of New York Mellon. (Court Of Common Pleas,
      Hamilton County, Ohio, A1302490) Trial.


  36. December 2016. Fixed Income Shares: Series M, Lvs II LLC,
      PCM Fund, Inc., PIMCO Absolute Return Strategy II Master Fund
      LDC, PIMCO Absolutereturnstrategy III Master Fund LDC, PIMCO
      Absolute Return Strategy III Overlay Master Fund Ltd., PIMCO
      Absolute Return Strategy IV Master Fund LDC, PIMCO Absolute
      Return Strategy V Master Fund LDC, PIMCO Bermuda Trust:
      PIMCO Bermuda Foreign Low Duration Fund, PIMCO Bermuda
      Trust: PIMCO Bermuda U.S. Low Duration Fund, PIMCO Cayman
      Spc Limited, PIMCO Cayman Japan Coreplus Segregated Portfolio,
      PIMCO Cayman Trust: PIMCO Cayman Global Advantage Bond
      Fund, PIMCO Cayman Trust: PIMCO Cayman Global Aggregate Ex-
      Japan (Yen-Hedged) Bond Fund II, PIMCO Cayman Trust: PIMCO
      Cayman Global Aggregate Exjapan (Yen-Hedged) Income Fund,
      PIMCO Cayman Trust: PIMCO Cayman Global Aggregate Ex-Japan
      Bond Fund, PIMCO Cayman Trust: PIMCO Cayman Global Bond
      (Nzdhedged) Fund, PIMCO Dynamic Credit Income Fund, PIMCO
      ETF Trust, PIMCO Total Return Active Exchange-Traded Fund,
      PIMCO Funds: Global Investors Series PLC, Diversified Income Fund,
      PIMCO Funds: Global Investors Series PLC, Global Bond Fund,
      PIMCO Funds: Global Investors Series PLC, Global Investment Grade
      Credit Fund, PIMCO Funds: Global Investors Series PLC, Income
      Fund, PIMCO Funds: Global Investors Series PLC, PIMCO Credit
      Absolute Return Fund, PIMCO Funds: Global Investors Series PLC,
      Unconstrained Bond Fund, PIMCO Funds: PIMCO Commodities
      Plus Strategy Fund, PIMCO Funds: PIMCO Commodity Real Return
      Strategy Fund, PIMCO Funds: PIMCO Credit Absolute Return
      Fund, PIMCO Funds: PIMCO Diversified Income Fund, PIMCO
      Funds: PIMCO Floating Income Fund, PIMCO Funds: PIMCO




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     Foreign Bond Fund (Unhedged), PIMCO Funds: PIMCO Global
     Advantage Strategy Bond Fund, PIMCO Funds: PIMCO Global Bond
     Fund (Unhedged), PIMCO Funds: PIMCO Income Fund, PIMCO
     Funds: PIMCO International Stocksplus AR Strategy Fund (U.S.
     Dollarhedged), PIMCO Funds: PIMCO Investment Grade Corporate
     Bond Fund, PIMCO Funds: PIMCO Low Duration Fund, PIMCO
     Funds: PIMCO Low Duration Fund II, PIMCO Funds: PIMCO
     Low Duration Fund III, PIMCO Funds: PIMCO Real Return Fund,
     PIMCO Funds: PIMCO Short-Term Fund, PIMCO Funds: PIMCO
     Total Return Fund, PIMCO Funds: PIMCO Unconstrained Bond
     Fund, PIMCO Funds: PIMCO Worldwide Fundamental Advantage
     AR Strategy Fund, PIMCO Funds, Private Account Portfolio Se-
     ries Emerging Markets Portfolio, PIMCO Funds: Private Account
     Portfolio Series International Portfolio, PIMCO Funds: Private
     Account Portfolio Series Mortgage Portfolio, PIMCO Funds: Private
     Account Portfolio Series Short-Term Portfolio, PIMCO Funds: Private
     Account Portfolio Series U.S. Government Sector Portfolio, PIMCO
     Multi-Sector Strategy Fund Ltd., PIMCO Offshore Funds - PIMCO
     Absolute Return Strategy IV Efund, PIMCO Variable Insurance
     Trust: PIMCO Global Advantage Strategy Bond Portfolio, PIMCO
     Variable Insurance Trust: PIMCO Global Bond Portfolio (Unhedged),
     PIMCO Variable Insurance Trust: PIMCO Low Duration Portfolio,
     CREF Bond Market Account, CREF Social Choice Account, TIAA
     Global Public Investments, MBS LLC, TIAA-CREF Bond Fund,
     TIAA-CREF Bond Plus Fund, TIAA-CREF Life Insurance Company,
     Prudential Bank & Trust, FSB, Prudential Retirement Insurance and
     Annuity Company, The Gibraltar Life Insurance Company, Ltd., The
     Prudential Series Fund, LIICA RE II, Inc., Monumental Life Insurance
     Company Modified Separate Account, Transamerica Life Insurance
     Company, Transamerica Premier Life Insurance Company, Kore
     Advisors LP, and Sealink Funding Limited vs. Citibank N.A. (U.S.
     District Court, Southern District of New York, 14-cv-09373-JMF)
     Deposition.


  35. November 2016. Jill Stein, Petitioner, vs. Wisconsin Elections
      Commission and Members of the Wisconsin Elections Commission,
      each and only in his or her official capacity: Mark L. Thomsen,




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      Ann S. Jacobs, Beverly Gill, Julie M. Glancey, Steve King, and Don
      M. Millis, Respondents. (State of Wisconsin Circuit Court, Dane
      County, Judge Valerie Bailey-Rihn) Trial.


  34. October 2016. Citizens Oversight, Inc., a Delaware non-profit
      corporation; and Raymond Lutz, an individual, vs. Michael Vu, San
      Diego Registrar of Voters; Helen N. Robbins-Meyer, San Diego County
      Chief Administrative Officer; County of San Diego, a public entity;
      and Does 10–10, Defendants. (Superior Court of California, County of
      San Diego–Central Division, 37-2016-00020273-CL-MC-CTL) Trial.


  33. July 2016. Loc Vu-Quoc vs. University of Florida. (American
      Arbitration Association Case no. 01-15-0006-1052). Arbitration.


  32. July 2016. Memorial University of Newfoundland Faculty Associa-
      tion vs. Memorial University of Newfoundland (Arbitration I15-07)
      Arbitration.


  31. June 2016. Gasia Thomas, et al., vs. First Energy Corporation, et
      al. (Court Of Common Pleas, Cuyahoga County, Ohio, 13-CV-798520)
      Deposition.


  30. May 2016. The Western and Southern Life Insurance Company, et
      al., vs. The Bank of New York Mellon. (Court Of Common Pleas,
      Hamilton County, Ohio, A1302490) Deposition.


  29. February 2016. Palms Place, LLC, a Nevada limited liability com-
      pany, vs. Kittrell Garlock & Associates, Architects, AIA, LTD. d/b/a
      KGA Architecture, a Nevada professional corporation; M.J. Dean Con-
      struction, LLC, a Nevada limited liability company; Does I through X;
      Roe Corporations I through X; and Roe LLC I through X, Defendants.
      M.J. Dean Construction, Inc., a Nevada corporation, Counterclaimant,
      vs. Palms Place, LLC, a Nevada limited liability company, Does I-X,




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      Roe Corporations I-X, Boe Bonding Companies I-X, Loe Lenders I-X
      and Toe Tenants I-X, Counterdefendants.
      Kittrell Garlock & Associates, Architects, AIA, Ltd. d/b/a KGA Ar-
      chitecture, a Nevada professional corporation, Counterclaimant, vs.
      Palms Place, LLC, a Nevada limited liability company, and Toes I
      XV, Counterdefendants.
      M.J. Dean Construction, Inc., a Nevada corporation, Third-Party
      Plaintiff, vs. Embassy Glass, Inc., a Nevada corporation; Zetian Sys-
      tems, Inc., a Nevada corporation; Bombard Mechanical, LLC, a Lim-
      ited Liability Company; Century Steel, Inc., a Nevada corporation;
      Pacific Custom Pools, Inc., a Nevada corporation; Superior Tile & Me-
      chanical, Inc., a Nevada corporation; Mesa Mechanical, LLC, a Limited
      Liability Company; Dean Roofing Co., a Nevada Corporation; Does 1
      through 50; Roe Corporations 1 through 50, Third-Party Defendants.
      Palms Place, LLC, a Nevada limited liability company, Cross-Claimant,
      vs. Embassy Glass, Inc., a Nevada corporation; Zetian Systems, Inc.,
      a Nevada corporation; Does 1 through 50; Roe Corporations 1 through
      50, Cross-Defendants. (Nevada District Court, Clark County, Nevada,
      A-11-645150-C) Deposition.


  28. September 2015. Lavastone Capitol LLC vs. Coventry First LLC,
      LST I LLC, LST II LLC, LST Holdings LTD., Montgomery Capital,
      Inc., Alan Buerger, Reid Buerger, Constance Buerger, and Krista
      Lake. (U.S. District Court, Southern District of New York, 14-CV-
      07139 JSR) Trial.


  27. May 2015. Lavastone Capitol LLC vs. Coventry First LLC, LST I
      LLC, LST II LLC, LST Holdings LTD., Montgomery Capital,
      Inc., Alan Buerger, Reid Buerger, Constance Buerger, and Krista
      Lake. (U.S. District Court, Southern District of New York, 14-CV-
      07139 JSR) Deposition.


  26. April 2015. Testimony before the California State Assembly Com-
      mittee on Elections and Redistricting. Legislative hearing. https://w
      ww.stat.berkeley.edu/~ stark/Preprints/ab44-assembly-2015-4




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      -15.htm


  25. July 2014. New Jersey Carpenters Health Fund, New Jersey Car-
      penters Vacation Fund, and Boilermaker Blacksmith National Pension
      Trust, on Behalf of Themselves and All Others Similarly Situated,
      vs. Residential Capital, LLC; Residential Funding, LLC; Residential
      Accredit Loans, Inc.; Bruce J. Paradis; Kenneth M. Duncan; Davee
      L. Olson; Ralph T. Flees; Lisa R. Lundsten; James G. Jones; David
      M. Bricker; James N. Young; Residential Funding Securities Corpo-
      ration d/b/a GMAC RFC Securities; Goldman, Sachs & Co.; RBS
      Securities, Inc. f/k/a Greenwich Capital Markets, Inc. d/b/a RBS
      Greenwich Capital; Deutsche Bank Securities, Inc.; Citigroup Global
      Markets, Inc.; Credit Suisse Securities (USA) LLC; Bank of America
      Corporation as successor-in-interest to Merrill Lynch, Pierce, Fenner
      & Smith, Inc.; UBS Securities LLC; JPMorgan Chase & Co., Inc. as
      successor-in-interest to Bear, Stearns & Co., Inc.; and Morgan Stanley
      & Co., Inc. (U.S. District Court, Southern District of New York, Case
      08-CV-8781 HB) Deposition.


  24. October 2013. United States, the States of California, Delaware,
      Florida, Illinois, Indiana, Nevada, New Mexico, New York, and
      Tennessee, the Commonwealths Of Massachusetts and Virginia,
      and The District Of Columbia Ex Rel. John Hendrix, Plaintiffs,
      vs. J-M Manufacturing Company, Inc., d/b/a JM Eagle, a Delaware
      corporation, and Formosa Plastics Corporation, U.S.A., a Delaware
      corporation (U.S. District Court, Central District of California, Case
      ED CV 06-00055-GW) Trial.


  23. September 2013. Tessera, Inc. vs. Advanced Micro Devices, Inc., a
      Delaware corporation; Spansion, LLC, a Delaware limited liability cor-
      poration; Spansion, Inc., a Delaware corporation; Spansion Technology,
      Inc., a Delaware corporation; Advanced Semiconductor Engineering,
      Inc., a Republic of China corporation; ASE (U.S.), Inc., a California
      corporation; ChipMOS Technologies, Inc., a Republic of China corpo-
      ration; ChipMOS U.S.A., Inc., a California corporation; Siliconware
      Precision Industries Co., Ltd., a Republic of China corporation;




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      Siliconware USA, Inc., a California corporation; STMicroelectronics
      N.V., a Netherlands corporation; STMicroelectronics, Inc., a Delaware
      corporation; STATS ChipPAC, Inc., a Delaware corporation; STATS
      ChipPAC (BVI), Inc., a British Virgin Islands company; STATS
      ChipPAC, Ltd., a Singapore company (U.S. District Court, Northern
      District of California, Case C 05-04063 CW) Deposition.


  22. July 2013. United States, the States Of California, Delaware, Florida,
      Illinois, Indiana, Nevada, New Mexico, New York, and Tennessee, the
      Commonwealths Of Massachusetts And Virginia, and The District Of
      Columbia Ex Rel. John Hendrix, Plaintiffs, vs. J-M Manufacturing
      Company, Inc., d/b/a JM Eagle, a Delaware corporation, and Formosa
      Plastics Corporation, U.S.A., a Delaware corporation (U.S. District
      Court, Central District of California, Case ED CV 06-00055-GW)
      Deposition.


  21. June 2013. Free Speech Coalition, Inc., American Society Of Media
      Photographers, Inc.; Michael Barone; David Conners a/k/a Dave
      Cummings; Thomas Hymes; Townsend Enterprises, Inc. d/b/a
      Sinclair Institute; C1R Distribution, LLC d/b/a Channel 1 Releasing;
      Barbara Alper; Carol Queen; Barbara Nitke; David Steinberg; Marie
      L. Levine a/k/a Nina Hartley; Dave Levingston; Betty Dodson; Carlin
      Ross vs. Eric H. Holder, Jr., Attorney General of the United States
      (U.S. District Court, Eastern District of Pennsylvania, Case 2:09–4607
      MMB) Trial.


  20. October 2011. Jonathan Buckheit vs. Tony Dennis, Dean Devlugt,
      Town of Atherton, County of San Mateo, Anthony Kockler and Jerry
      Carlson (U.S. District Court, Northern District of California, Case
      CV09-5000 JCS) Deposition.


  19. June 2010. Testimony before California State Senate Committee
      on Elections, Reapportionment and Constitutional Amendments.
      Legislative hearing. https://www.stat.berkeley.edu/~ stark/Prep




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     rints/ab2023-senate-15-6-10.htm


  18. April 2010. Testimony before California State Assembly Committee
      on Elections and Redistricting. Legislative hearing. https://www.sta
      t.berkeley.edu/~ stark/Preprints/ab2023-assembly-20-4-10.ht
      m


  17. March 2010. Suzan Sharpley and Robert Abeling vs. William Long;
      Novato Sanitary District; Elaine Ginnold, Marin County Registrar of
      Voters; Does 1–10. (State of California Superior Court, County of
      Marin, Case CIV 096368) Trial.


  16. January 2010. Kastanos et al. vs. Central Concrete Supply Co., Inc.
      (State of California Superior Court, County of Alameda, Lead Case
      No. HG 07-319366) Trial.


  15. June 2009. Star Scientific, Inc., vs. R.J. Reynolds Tobacco Company,
      et al. (U.S. District Court, Maryland District, Northern Division,
      Case Nos. MJG-01 1504 and MJG-02 2504) Trial.


  14. May 2009. Star Scientific, Inc., vs. R.J. Reynolds Tobacco Company,
      et al. (U.S. District Court, Maryland District, Northern Division,
      Case Nos. MJG-01 1504 and MJG-02 2504) Deposition.


  13. July 2008. Coordination Proceeding Special Title (Rule 1550(b))
      Cellphone Termination Fee Cases (State of California Superior Court,
      County of Alameda, Case 4332) Deposition.


  12. April 2008. Coordination Proceeding Special Title (Rule 1550(b))
      Cellphone Termination Fee Cases (State of California Superior Court,
      County of Alameda, Case 4332) Deposition.




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  11. August 2007. Self-Insurers’ Security Fund vs. Gallagher Bassett
      Services, Inc. (U.S. District Court, Northern District of California,
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   5. December 2003. Richison et al. vs. American Cemwood Corporation
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      No. 005532) Trial.


   4. December 2003. Pacific Gas and Electric Co. vs. City and County
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   2. May 1998. Testimony before the U.S. House of Representatives
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